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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO


   Civil Action No.: 1:17-cv-00304-WJM-CBS

   PEACE OFFICERS’ ANNUITY AND BENEFIT FUND OF GEORGIA, Individually and on
   Behalf of All Others Similarly Situated, and
   JACKSONVILLE POLICE AND FIRE PENSION FUND, Individually and on Behalf of All
   Others Similarly Situated,

         Plaintiffs,
   v.

   DAVITA INC.,
   KENT J. THIRY,
   JAMES K. HILGER, and
   JAVIER J. RODRIGUEZ,

         Defendants.


             AMENDED CLASS ACTION COMPLAINT FOR VIOLATIONS OF
             THE FEDERAL SECURITIES LAWS AND JURY TRIAL DEMAND
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   I.     NATURE OF THE ACTION

          1.      Lead Plaintiffs, The Peace Officers’ Annuity and Benefit Fund of Georgia and

   Jacksonville Police and Fire Pension Fund (together, “Lead Plaintiffs”), bring this action

   pursuant to Sections 10(b) and 20(a) of the Securities Exchange Act of 1934 (the “Exchange

   Act”) on behalf of themselves and all persons or entities who purchased or otherwise acquired

   the common stock of DaVita Inc. (“DaVita” or the “Company”) during the period between

   February 26, 2015 and October 6, 2017, inclusive (the “Class Period”), and were damaged

   thereby (the “Class”).

          2.      Lead Plaintiffs allege the following based upon personal knowledge as to

   themselves and their own acts, and upon information and belief as to all other matters. Lead

   Plaintiffs’ information and belief are based upon the independent investigation of their

   undersigned counsel, which included the review and analysis of:             (i) internal Company

   documents, including, among many other materials: internal emails between high-level DaVita

   employees discussing the implementation and oversight of the fraud; widely circulated internal

   spreadsheets that documented the progress of Defendants’ scheme; and internal employee

   training materials and PowerPoint presentations that explicitly detailed and incentivized the

   fraud; (ii) interviews with numerous, high-level former employees of DaVita, including

   executives directly responsible for the oversight and management of DaVita dialysis clinics

   across the country, and who were present at large-scale Company meetings, conference calls and

   training sessions where the scheme was explicitly discussed and implemented; (iii) DaVita’s

   public filings with the Securities and Exchange Commission (the “SEC”); (iv) research reports

   by securities and financial analysts; (v) transcripts of DaVita’s conference calls with analysts and

   investors; (vi) presentations, press releases, and reports regarding the Company; (vii)




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   consultations with relevant experts; (viii) news and media reports concerning the Company and

   other facts related to this action; and (ix) data reflecting the pricing of DaVita common stock.

          3.      Counsel’s investigation into the factual allegations continues, and many of the

   additional relevant facts are known only by the Defendants or are exclusively within their

   custody or control. Lead Plaintiffs believe that substantial additional evidentiary support is

   likely to exist for the allegations set forth herein after a reasonable opportunity for further

   investigation or discovery.

   II.    SYNOPSIS OF THE FRAUD

          4.      DaVita is one of the country’s two largest dialysis providers, treating patients who

   have end-stage renal disease (“ESRD”). Throughout the Class Period, DaVita’s dialysis business

   consistently reported strong financial results that Defendants specifically attributed to the

   Company’s improving “commercial mix”—meaning the number of patients whose dialysis

   treatments were paid for by private insurance, as opposed to Medicare or Medicaid. Indeed,

   Defendants made clear to investors that 100% of DaVita’s dialysis profits were dependent upon

   the 10% of its ESRD patients who were commercially insured, as the Company typically charged

   commercial insurers prices that were more than ten times greater than the amounts billed to

   Medicare or Medicaid for the exact same dialysis treatments. Due to this dramatic disparity,

   DaVita was profoundly incentivized to maximize the number of commercially-insured patients it

   treated. For this reason, Defendant Kent Thiry, DaVita’s Chief Executive Officer, repeatedly

   referred to the Company’s commercially-insured ESRD patients as its “economic lifeline.”

          5.      As was ultimately revealed, however, the strong commercial mix growth that

   DaVita reported during the Class Period was a fiction, a mirage that was attributable to a variety

   of illicit and improper practices that violated regulations implemented by the Centers for




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   Medicare and Medicaid Services (“CMS”) and federal anti-kickback laws.                 Specifically,

   Defendants engaged in an unlawful practice called “steering,” which CMS defines as “steering

   people eligible for Medicare or Medicaid benefits” to a commercial insurance plan “for the

   purpose of obtaining higher payment rates.” As set forth in detail below—and as confirmed by

   internal Company documents and numerous high-ranking former DaVita employees—during the

   Class Period, Defendants implemented a Company-wide scheme whose entire purpose was to

   “steer” every single one of DaVita’s Medicare and Medicaid patients to commercial insurance,

   thereby inflating the Company’s profits by hundreds of millions of dollars.

          6.      Moreover, because ESRD patients typically could not afford the premiums for

   commercial insurance, and anti-kickback statutes prevented DaVita from directly paying its

   patients’ premiums, DaVita developed a fraudulent scheme designed to evade those regulations.

   Specifically, DaVita engaged in a “quid pro quo” relationship with the American Kidney Fund

   (“AKF”), a purportedly independent 501(c)(3) non-profit. Pursuant to this relationship, DaVita

   ostensibly “donated” hundreds of millions of dollars to the AKF, and in turn, the AKF used those

   proceeds to pay the commercial insurance premiums for DaVita’s patients. DaVita then billed

   commercial insurers multiples of what it donated. This scheme proved highly lucrative to

   DaVita. Indeed, unbeknownst to investors, during the Class Period, more than 75% of the

   Company’s profits were derived from private insurance policies paid for by the AKF. Tellingly,

   DaVita refused to disclose, and in fact materially misrepresented, the true nature and extent of its

   relationship with the AKF. In fact, the Company’s SEC filings falsely claimed that only “some

   patients who do not qualify” for government programs could apply for AKF assistance, when in

   reality DaVita specifically targeted all current and prospective patients for AKF assistance—

   including those who were already enrolled, or eligible to enroll, in Medicare or Medicaid.




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          7.      Significantly, key internal Company documents confirm that, throughout the

   Class Period, DaVita’s most senior officers directed the Company’s dialysis facilities across the

   country to steer patients off government plans and onto AKF-backed insurance plans. For

   instance, DaVita emails, presentations and marketing plans show that, in 2014, shortly before the

   start of the Class Period, the Company implemented “Private Pay Incentive Programs” and other

   inducements that awarded substantial bonuses of up to $10,000 for employees who converted the

   most patients to “private pay.” Indeed, a March 2014 letter from a DaVita Vice President to

   regional Facilities Administrators noted that “Private Pay growth” was a “top initiative for

   2014,” and DaVita repeatedly emphasized to Facilities Administrators and Home Program

   Managers1 that “Great bonuses and recognition available to HPMs and FAs that exceed private

   pay growth…Check it out and go for it!” DaVita also disseminated Company-wide “Village

   Announcements” to employees, informing them that getting patients to obtain private insurance

   was “most important,” and instructing them to “submit your ideas around specific ways to

   increase our number of patients with private pay insurance.” Moreover, DaVita maintained

   detailed spreadsheets tracking just how effectively its employees “steered” patients off Medicare

   and Medicaid, including statistics for each facility showing what the Company called “Wins”

   and “Win Ratios”—meaning the rates at which employees and facilities converted Medicaid or

   Medicare patients to private insurance.

          8.      Internal Company documents also make clear that, during the Class Period,

   DaVita adopted and implemented Company-wide initiatives that were specifically aimed at

   steering patients on Medicare and Medicaid to switch to private insurance using the AKF as a

   1
    Facilities Administrators at the Company managed outpatient dialysis clinics in a given region
   (with each usually managing several at a time), while Home Program Managers were in charge
   of the Company’s home dialysis business.



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   conduit. For example, during the summer of 2015, the Company rolled out a program that was

   explicitly called the “Medicaid Opportunity.” Internal documents prepared in connection with

   that “Medicaid Opportunity” and disseminated to all DaVita employees demonstrate that the

   singular focus of the initiative was to steer all of the Company’s government-insured dialysis

   patients on to AKF-backed commercial plans. Indeed, as a November 2015 document entitled

   “Medicaid Opportunity Update” provided, DaVita’s employees were to “support AKF

   application for all enrolled patients.” To make employees’ responsibilities crystal clear, and to

   leave no doubt that this “Medicaid Opportunity” was to be fulfilled, the document included a

   specific “Plan of Action” that meticulously detailed the responsibilities for each clinic employee

   in obtaining AKF applications from patients. For example, the document instructed Insurance

   Counselors to “perform” and “track” AKF enrollment conversations with patients, while Social

   Workers were to “be a resource” and “provide support in areas with limited capacity for AKF

   process[ing].”     The document also specifically ordered Facilities Administrators—those

   employees who were directly in charge of the dialysis facilities—to “ensure AKF management in

   your facility is being done,” and to “have a solid process for AKF application submission.”

          9.        The independent accounts of former high-ranking DaVita employees further

   confirm Defendants’ scheme. For instance, a former Facilities Administrator who worked at

   DaVita for four years until 2016, and who was in charge of five DaVita clinics in California,

   recalled that through the “Medicaid Opportunity” initiative, “anybody who was on Medicare or

   Medicaid was asked to sign up for the AKF programs.” This former Facilities Administrator

   further recalled that DaVita employees were “hounded” and “pressured to get these people

   signed up for the AKF programs.” Similarly, a former Insurance Counselor who worked at

   DaVita for four years until 2016, and who was responsible for several DaVita facilities in New




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    York, recalled a July 2015 regional meeting in North Carolina, during which Company

    executives specifically discussed the “Medicaid Opportunity” initiative and instructed attendees

    to “get [the] American Kidney Fund to pay for exchange plans.” Another former Insurance

    Counselor for facilities in Texas attended a two-week training program in August 2015 at the

    Company’s Denver headquarters, which included sessions teaching “steering” techniques that

    made clear that it was “important for us to get [the patients] onto private insurance. Even if they

    qualified for Medicare or Medicaid, you were encouraged to get them on private insurance.”

           10.     As a direct result of Defendants’ fraudulent scheme, DaVita reported consistently

    strong financial results during the Class Period that the Company specifically stated were “driven

    by improvements in our commercial payor mix.” At every turn, the Individual Defendants

    reinforced the significance of the growth in this metric. For instance, during an August 2015

    earnings conference call, Defendant Thiry emphasized that “the biggest good news is that our

    commercial mix and our rates, both went up.” During the same call, Defendant Hilger reiterated

    that the Company’s financial growth was “due to improved commercial mix.”

           11.     In the summer of 2016, however, DaVita’s scheme began to unravel. On August

    18, 2016, CMS issued a formal Request For Information (“RFI”) regarding allegations that

    DaVita and other dialysis companies had engaged in steering, emphasizing that it was “improper

    to influence people away from Medicare or Medicaid coverage for the purpose of financial

    gain,” as it would violate both the Social Security Act and federal anti-kickback laws. In

    response to the RFI, former DaVita employees, industry participants, and commercial insurers

    who had contracted with the Company provided detailed accounts confirming that steering was a

    rampant and widespread practice at DaVita. Nonetheless, in its own response to the RFI, DaVita

    emphatically, repeatedly and unequivocally asserted: “We do not steer.”




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            12.     Notwithstanding DaVita’s public denials about its steering scheme, the truth

    about the Company’s illicit practices, and the impact of these practices on its financial results,

    continued to leak out. On October 23, 2016, the St. Louis Post-Dispatch published a detailed

    investigative report on the Company stating that, based on its review of internal Company

    emails, documents and interviews with former employees, DaVita had been deliberately steering

    patients into commercial plans by funneling “donations” through the AKF. Just one week later,

    on October 31, 2016, DaVita issued a press release announcing that, effective immediately, it

    was “temporarily” suspending support for applications to the AKF for 2,000 patients enrolled in

    minimum essential Medicaid coverage, and that such suspension could reduce the Company’s

    annual operating income by as much as $140 million before any offsets, an amount equal to

    approximately 16% of its 2016 profits.

            13.     Significantly, however, even after DaVita suspended its AKF donations for

    certain Medicaid patients, it continued to deny that it steered patients to private insurance, and

    materially misrepresented how much of the Company’s profits depended on AKF “support.” In

    fact, when analysts directly questioned Defendant Thiry about the Company’s AKF exposure

    after the Company announced the suspension, Thiry refused to respond, remarkably telling

    investors “that disclosing that is not in your best interests.”

            14.     Unfortunately for Thiry, regulators, analysts and the media disagreed.         On

    December 25, 2016, The New York Times published an investigative report highlighting that the

    AKF intentionally favored DaVita by giving premium assistance to its patients, while denying

    such assistance for patients of dialysis companies who did not donate to the fund. On January 6,

    2017, The Wall Street Journal reported that the U.S. Department of Justice had commenced a

    probe into DaVita’s relationship with the AKF and, as part of the investigation, the U.S.




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    Attorney’s Office for the District of Massachusetts had issued a subpoena seeking information

    relating to the Company’s AKF donations. Then, on August 1, 2017, the Company reported that

    its second quarter 2017 earnings dropped 15% when compared to the same period the prior year,

    precisely because it had suspended AKF assistance for a portion of the Company’s

    commercially-insured patient base, leading to a 9% drop in DaVita’s stock price.

           15.     The full truth regarding Defendants’ fraud was not fully disclosed until October 9,

    2017, when the truth about DaVita’s relationship with the AKF was revealed. Although DaVita

    had steadfastly refused to disclose how many of its commercial patients received AKF premium

    payments, the AKF’s own disclosures revealed that it provided such assistance to approximately

    21,000 non-ACA patients. Thus, on October 9, 2017, J.P. Morgan issued a report downgrading

    DaVita’s stock because of the AKF’s “updated disclosures,” estimating that an astonishing “60-

    80% plus of DVA’s earning power is derived from its AKF relationship,” while questioning the

    “legal legitimacy” of the Company’s AKF relationship. As a result of these disclosures, the

    Company’s stock price plummeted $5.93, or 10%, to close at $53.89.

           16.     The following day, Defendants were finally forced to acknowledge the full

    magnitude of their fraud. Specifically, on October 10, 2017, the Company disclosed that, in

    addition to the previously-acknowledged 2,000 patients that used AKF assistance to enroll in

    ACA plans, almost 6,000 other commercially-insured patients also received AKF assistance,

    which could result in an additional loss in operating income of approximately $540 million. All

    told, DaVita confirmed that a staggering $680 million of its earnings were reliant upon its illicit

    relationship with the AKF—more than 75% of the $880 million in net income that the Company

    reported in 2016.




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            17.     The fallout from Defendants’ fraud continues to this day. As of the filing of this

    complaint, the DOJ and regulatory investigations of DaVita remain ongoing. Upon learning of

    the scheme, insurers refused to cover ESRD patients receiving AKF assistance, leading to a

    dramatic decline in DaVita’s earnings.       Investors who purchased DaVita common stock at

    artificially-inflated prices during the Class Period have suffered substantial losses from

    Defendants’ violations of the federal securities laws. This action seeks redress on behalf of these

    aggrieved shareholders.

    III.    JURISDICTION AND VENUE

            18.     This Court has jurisdiction over the subject matter of this action pursuant to

    Section 27 of the Exchange Act, 15 U.S.C. § 78aa. In addition, because this is a civil action

    arising under the laws of the United States, this Court has jurisdiction pursuant to 28 U.S.C.

    §§ 1331 and 1337.

            19.     Venue is proper in this District pursuant to 28 U.S.C. § 1391(b) and Section 27 of

    the Exchange Act, 15 U.S.C. § 78aa. Many of the acts and transactions that constitute violations

    of law complained of herein, including the dissemination to the public of untrue statements of

    material facts, occurred in this District.

            20.     In connection with the acts, transactions, and conduct alleged herein, Defendants

    directly and indirectly used the means and instrumentalities of interstate commerce, including the

    United States mail, interstate telephone communications, and the facilities of a national securities

    exchange.




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    IV.    THE PARTIES

           A.      Lead Plaintiffs

           21.     Lead Plaintiff The Peace Officers’ Annuity and Benefit Fund of Georgia

    (“Georgia Peace Officers”) is a public pension system based in Griffin, Georgia that was created

    by Act of the General Assembly and signed into law by Governor Herman Talmadge on

    February 1, 1950. The stated purpose of the Act was to provide revenue and a source of revenue

    for the purpose of paying annuities and benefits to the peace officers of the State of Georgia. As

    of November 2017, Georgia Peace Officers oversaw more than $700 million in assets. As set

    forth in its certification submitted concurrently herewith, Georgia Peace Officers purchased

    DaVita common stock during the Class Period and suffered damages as a result of the violations

    of the federal securities laws alleged herein. On November 6, 2017, the Court appointed Georgia

    Peace Officers as Co-Lead Plaintiff for the Class pursuant to 15 U.S.C. § 78u-4(a)(3)(B). See

    ECF No. 30.

           22.     Lead Plaintiff Jacksonville Police and Fire Pension Fund (“Jacksonville P&F”) is

    a single-employer contributing defined benefit pension plan covering all full-time police

    officers and firefighters of the Consolidated City of Jacksonville. The Fund was created in 1937

    and is structured as an independent agency of the City of Jacksonville. As of December 2017,

    Jacksonville P&F oversaw more than $1.9 billion in assets. As set forth in its certification

    submitted concurrently herewith, Jacksonville P&F purchased DaVita common stock during the

    Class Period and suffered damages as a result of the violations of the federal securities laws

    alleged herein. On November 6, 2017, the Court appointed Jacksonville P&F as Co-Lead

    Plaintiff for the Class pursuant to 15 U.S.C. § 78u-4(a)(3)(B). See ECF No. 30.




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           B.     Defendants

                  1.      DaVita

           23.    Defendant DaVita is one of the country’s largest providers of inpatient and

    outpatient dialysis services. DaVita is a Delaware corporation with its principal executive

    offices located at 2000 16th Street, Denver, CO 80202. DaVita’s securities are traded on the

    New York Stock Exchange (“NYSE”) under the symbol “DVA.”

                  2.      The Individual Defendants

           24.    Defendant Kent J. Thiry (“Thiry”) was, at all relevant times, Chief Executive

    Officer (“CEO”) of DaVita. Thiry has been CEO since October 1999 and chairman of the Board

    since June 2015 and from October 1999 until November 2012. Thiry was highly involved in

    DaVita’s day-to-day business and in interfacing with its employees. Thiry notoriously refers to

    the Company as the “Village,” himself as the “Mayor,” and DaVita employees as “teammates”

    or “citizens.” Media articles profiling Thiry have also described his unconventional leadership

    tactics, including dressing up like a Musketeer and zip-lining into “Villagewide” meetings

    (annual Company-wide meetings) or riding into them on horseback, engendering “a savior’s

    devotion” or “evangelical loyalty” from some DaVita employees.

           25.    During the Class Period, Defendant Thiry made materially false and misleading

    statements and omissions during earnings calls, investor conferences and industry presentations,

    including on August 4, 2015, February 11, 2016, November 2, 2016, and May 25, 2017.

    Defendant Thiry also reviewed, approved, signed and certified DaVita’s quarterly and annual

    filings with the SEC on Forms 10-Q and 10-K, including on February 26, 2015, August 4, 2015,

    November 4, 2015, February 26, 2016, May 4, 2016, August 8, 2016, November 2, 2016, and

    February 24, 2017, which contained materially false and misleading statements and omissions.




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           26.    Defendant James K. Hilger (“Hilger”) was DaVita’s Interim Chief Financial

    Officer (“CFO”) and is the Company’s Chief Accounting Officer (“CAO”). Specifically, Hilger

    has served as CAO since April 2010. Prior to April 2010, Hilger served as DaVita’s vice

    president and controller since May 2006, after having served as Vice President, Finance

    beginning in September 2005. Hilger was acting CFO from November 2007 through February

    2008, from April 2012 through November 2013, and from March 2015 through March 2017.

           27.    During the Class Period, Defendant Hilger made materially false and misleading

    statements and omissions during earnings calls, investor conferences and industry presentations,

    including on August 4, 2015 and May 4, 2016. Defendant Hilger also reviewed, approved,

    signed and certified DaVita’s quarterly and annual filings with the SEC on Forms 10-Q and 10-

    K, including on February 26, 2015, August 4, 2015, November 4, 2015, February 26, 2016, May

    4, 2016, August 8, 2016, November 2, 2016, February 24, 2017, which contained materially false

    and misleading statements and omissions.

           28.    Defendant Javier J. Rodriguez (“Rodriguez”) was, at all relevant times, CEO of

    DaVita’s Kidney Care Division. Rodriguez became DaVita’s CEO, DaVita Kidney Care in

    March 2014. Since joining the Company in 1998, Rodriguez has served in a number of different

    capacities. From February 2012 to March 2014, he served as DaVita’s President. From April 1,

    2006 through February 2012, he served as the Company’s Senior Vice President. Before that,

    from 2000 to 2006 he served as a Vice President of Operations and Payor Contracting.

    Rodriguez joined the Company in 1998 as a Director of Value Management.

           29.    During the Class Period, Defendant Rodriguez made materially false and

    misleading statements and omissions during earnings calls, investor conferences and industry

    presentations, including on August 8, 2016 and November 2, 2016.




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           30.     Defendants Thiry, Hilger and Rodriguez are collectively referred to herein as the

    “Individual Defendants.”

    V.     OVERVIEW OF THE DAVITA FRAUD

           A.      DaVita’s Business and Its Long History of Multi-Million Dollar Qui Tam and
                   Government Settlements for Various Alleged Unlawful Schemes

           31.     DaVita is one of the largest dialysis companies in the United States. During the

    Class Period, the Company had two major lines of business: Kidney Care, which is comprised of

    the Company’s dialysis and dialysis related services, and DaVita Medical Group (“DMG,”

    formerly HealthCare Partners), which serves as a healthcare management company. The Kidney

    Care division is by far DaVita’s largest line of business, providing dialysis services to over

    190,000 of the approximately 480,000 ESRD patients in the United States (amounting to a 40%

    market share), through a network of approximately 2,350 outpatient dialysis centers in 46 states

    and the District of Columbia. During the Class Period, the Kidney Care division was the source

    of virtually all of DaVita’s earnings, accounting for 97% of its earnings in 2015, and 100% in

    2016. The success of the Kidney Care division was therefore crucial to DaVita’s business.

           32.     Although DaVita has been highly profitable in recent years, its Kidney Care

    business has been found to have intentionally violated federal and state laws on numerous

    occasions. Indeed, DaVita has been the subject of numerous qui tam lawsuits and government

    investigations in recent years, all of which have a common theme: namely, that the Company

    artificially boosted its profits through a variety of fraudulent and illicit means. Since 2012, the

    Company has paid more than one billion dollars to settle these lawsuits and investigations, and

    its business practices have been harshly criticized by numerous regulators.

           33.     For example, in 2014, DaVita paid $389 million to settle federal charges that the

    Company paid illegal kickbacks to doctors in exchange for patient referrals. The investigation



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    found that, for nearly a decade, DaVita offered lucrative opportunities to renal disease physicians

    and physician groups to partner with DaVita by acquiring and/or selling an interest in dialysis

    clinics to which their patients would then be referred for treatment.        This practice, which

    essentially amounted to illegally paying doctors to refer dialysis patients to DaVita, violated the

    federal False Claims Act. As the Department of Justice stated in its press release announcing the

    settlement: “This case involved a sophisticated scheme to compensate doctors illegally for

    referring patients to DaVita’s dialysis centers…When a company pays doctors and/or their

    practice groups for patient referrals, the company’s focus is not on the patient, but on the profit

    to be extracted from providing services to the patient.”2 In 2015, DaVita paid an additional $22

    million to settle related claims by five states—Colorado, California, Florida, Kentucky and Ohio.

           34.     In 2015, DaVita settled a whistleblower lawsuit for $495 million regarding claims

    that DaVita deliberately wasted medicine in order to reap hundreds of millions of dollars in extra

    payments from Medicare. At the time of the alleged scheme, Medicare would still reimburse a

    dialysis provider for medicine it did not use when treating patients.           According to the

    whistleblowers, DaVita purposely devised dosages to its patients to maximize the amount

    discarded, and thus maximize the Medicare reimbursement. Once again, the Department of

    Justice harshly criticized DaVita’s practices, stating that the Company engaged in “knowingly

    wasteful dosing practices designed simply to increase profits and improperly drain the

    government’s resources.”3 The government further credited the whistleblowers with returning



    2
     See Department of Justice Office of Public Affairs, DaVita to Pay $350 Million to Resolve
    Allegations of Illegal Kickbacks (Oct. 22, 2014), available at https://www.justice.gov/
    opa/pr/davita-pay-350-million-resolve-allegations-illegal-kickbacks
    3
       See Department of Justice Office of Public Affairs, DaVita to Pay $450 Million to Resolve
    Allegations That it Sought Reimbursement for Unnecessary Drug Wastage (June 24, 2015),



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    “hundreds of millions of dollars to the treasury that had been improperly obtained by DaVita

    through these wasteful practices.”4

              35.   In 2017, DaVita resolved claims that DaVita Rx billed government healthcare

    programs like Medicare and Medicaid for medications that were never shipped, that were later

    returned, or that did not comply with documentation requirements. The $63.7 million settlement

    also resolved claims that DaVita Rx violated the federal Anti-Kickback Statute by paying

    unlawful financial inducements to patients covered by federal healthcare programs.         Those

    inducements included accepting manufacturer co-payment cards to lower patients’ payment

    responsibilities, and writing off debt of people covered by Medicare and Medicaid, including for

    unpaid copays and coinsurance. In commenting on the settlement, the Department of Justice

    stressed that “[p]roviders should not make patient care decisions based upon improper financial

    incentives or encourage their patients to do the same,” and “[i]mproper billing practices and

    unlawful financial inducements to health program beneficiaries can drive up our nation’s health

    care costs.”

              36.   As set forth herein, following in this pattern of fraudulent behavior, DaVita and

    the Individual Defendants engaged in a widespread scheme to substantially boost the Company’s

    financial results during the Class Period. Specifically, Defendants obtained higher insurance

    reimbursements for the Company’s dialysis treatments by illegally “steering” as many of its

    Medicaid and Medicare-eligible Kidney Care patients as it could into more lucrative commercial

    insurance plans. DaVita lured these patients to switch to commercial plans by illicitly paying

    their commercial plan premiums for them, under the guise of making “donations” to the AKF, a

    available   at   https://www.justice.gov/opa/pr/davita-pay-450-million-resolve-allegations-it-
    sought-reimbursement-unnecessary-drug-wastage
    4
        Id.



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    supposedly independent non-profit charity.        In so doing, DaVita artificially inflated the

    Company’s financials, to the detriment of its investors.

           B.      History of Dialysis Care in the United States

           37.     End-stage renal disease (“ESRD”), or kidney failure, is the ninth leading cause of

    death in the United States. ESRD causes a life-threatening accumulation of toxins in the body,

    requiring a manual filtration process known as dialysis. ESRD patients typically must undergo

    dialysis three times a week, for four hours per session. During that time, they are hooked up to a

    large machine through which their blood is externally circulated and filtered. Dialysis does not

    restore kidney function, but rather manually filters toxins to keep ESRD patients alive longer.

    The only way to restore kidney function is through a life-saving kidney transplant. The five-year

    survival rate for ESRD patients on dialysis is 35.8%, with 25% of patients dying within the first

    year of dialysis treatments. In contrast, the five-year survival rate for ESRD patients who

    receive a kidney transplant is 85.5%.

           38.     Due to the gravity of their condition, and the frequent, lengthy and exhausting

    dialysis sessions, ESRD patients often find it extremely difficult to work, or to find employment.

    To alleviate this problem, in 1972, Congress passed a law that made ESRD patients universally

    eligible for Medicare (which is usually restricted to those age 65 and older) at any age, and

    regardless of financial circumstances. As DaVita states in its public filings with the SEC:

    “ESRD is the first and only disease state eligible for Medicare coverage both for dialysis and

    dialysis-related services and for all benefits available under the Medicare program.”

           39.     Medicare covers 80% of ESRD patients’ dialysis treatments and, most critically,

    Medicare also covers a life-saving kidney transplant and the crucial aftercare for the transplant.




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    ESRD patients are largely eligible for state-run Medicaid programs for the remaining 20% of

    dialysis costs that Medicare does not cover.

           40.     Thus, because ESRD patients are usually unable to work—and because, under the

    1972 law, they are automatically eligible for Medicare—the vast majority of ESRD patients are

    insured by Medicare and/or Medicaid. Moreover, while the few ESRD patients who are able to

    work may be insured by private group plans, pursuant to a rule issued by CMS, these plans serve

    as these patients’ primary insurer only for a 30-month “coordination” period, during which

    period Medicare is their secondary insurer. After that period is over, Medicare becomes these

    patients’ primary insurer (with their private insurance becoming secondary). This rule was

    specifically designed to alleviate the substantial impact of expensive ESRD patients on

    commercial insurers, and on their insureds, as ESRD patients’ need for frequent and high-cost

    dialysis treatments dramatically raises costs and premiums for the entire insurance risk pool.

           41.     However, as a result of the passage of the Affordable Care Act (the “ACA”)—

    which went into effect in January 2014—ESRD patients acquired the option to enroll in

    individual marketplace (or “exchange”) plans, which under the ACA, could no longer deny

    coverage on the basis of a “pre-existing condition.” Even so, for ESRD patients, who, again,

    typically have a difficult time working, affording premiums for ACA plans was challenging—

    and unnecessary. As stated above, the vast majority of ESRD patients are automatically eligible

    for low-cost Medicare and/or Medicaid programs, which covers both their essential care and a

    life-saving kidney transplant.     Indeed, the National Kidney Foundation’s own website

    specifically informs ESRD patients that: “There is [] no reason for you to obtain a health

    insurance plan in the Marketplace as it is unlikely to offer you additional benefits above what

    Medicare covers.”




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           C.     Defendants Fraudulently Increased DaVita’s Commercially Insured Patient
                  Count By Illicitly Funneling Funds For Their Commercial Premiums
                  Through the American Kidney Fund

           42.    DaVita’s Kidney Care profits—which, again, constituted 100% of the Company’s

    earning power—were entirely dependent on its commercially insured ESRD patients. Indeed,

    DaVita charged commercial insurers rates for dialysis treatments that were often more than ten

    times higher than Medicare or Medicaid reimbursement rates—i.e., up to $4,000 per treatment,

    as opposed to only $300 per treatment. For this reason, Defendant Thiry described “commercial

    lives”—or DaVita’s commercially insured ESRD patients—as the Company’s “economic

    lifeline.” As Thiry explained to investors: “[W]e face the same quandary we’ve faced for 15 to

    16 years, which is that . . . we lose money on 90% of the patients we take care of,” meaning

    those insured by Medicare or Medicaid.

           43.    From 2007 through 2014, DaVita experienced a steady decline in its

    commercially insured dialysis patients, from 13% in 2007 to 10% in 2013. The percentage of

    revenues attributable to its commercially insured ESRD patients, or its “commercial mix,” also

    declined: from 36% to 34%. Even after the ACA went into effect on January 1, 2014, this

    decline continued, with the “commercial mix” for year-end 2014 dropping to 33%, and the

    overall percentage of commercial dialysis patients remaining flat at 10%.

           44.    This 3% decline in the Company’s commercial mix had a significant impact on its

    earning power. For example, in 2007, when DaVita’s commercial mix was at its peak at 36%,

    the Company earned an average of approximately $49,160 per patient in net revenues. In 2014,

    when DaVita’s commercial mix dropped to 33%, the Company earned approximately $47,400

    per patient—which, on aggregate, amounted to $300 million less (or nearly 40% of its profits

    that year) than what DaVita could have earned if its commercial mix had been at the 2007 level.




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           45.     Desperate to reverse this alarming decline, during the Class Period, DaVita and

    the Individual Defendants conceived of a fraudulent scheme to illicitly increase the Company’s

    commercial patient count—and therefore its bottom line. Specifically, despite the near universal

    eligibility of ESRD patients for lower-cost Medicare and/or Medicaid benefits, DaVita engaged

    in a widespread scheme to illegally “steer” as many of its ESRD patients as it could to enroll in

    commercial plans—for the sole purpose of profiting off the much more lucrative commercial

    reimbursement rates.

           46.     Inappropriate patient steering, as explained by the federal Department of Health &

    Human Services (“HHS”) and CMS, involves “influenc[ing] [patients] away from Medicare or

    Medicaid coverage” and into commercial plans “for the purpose of financial gain.” Such illicit

    steering also violates the “anti-duplication” provision of the federal Social Security Act, which

    prohibits selling a commercial plan to Medicaid and Medicare beneficiaries (and for which there

    are criminal penalties), in addition to state common law.

           47.     As internal Company documents and accounts by former employees show (see §

    V(E) below), DaVita and the Individual Defendants internally issued an express Company-wide

    directive explicitly instructing DaVita employees in its dialysis centers across the country to

    pressure the Company’s ESRD patients to forego their Medicare and/or Medicaid benefits in

    favor of enrolling in commercial plans—i.e., to illicitly “steer” as many patients as they could.

    Insidiously, DaVita did so by training its employees to disparage Medicare and Medicaid to all

    ESRD patients, and to convince them that those programs could not meet their medical needs.

           48.     There was a key problem with DaVita’s scheme, however: even if ESRD patients

    could be successfully steered into commercial plans, most of those patients, who were largely

    unable to work, could not afford commercial premiums. DaVita’s solution was to simply pay its




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    ESRD patients’ commercial premiums itself. Indeed, considering the Company would receive

    up to $4,000 per dialysis treatment—with each patient undergoing several dialysis treatments per

    week – the premiums were a small price for the Company to pay in exchange for the enormous

    profits it would receive from far more lucrative commercial reimbursement rates.

           49.    Even so, DaVita could not directly pay its own patients’ premiums for them

    without violating the federal Anti-Kickback statute, which makes it a criminal offense to offer

    anything of value to Medicaid and/or Medicare beneficiaries in order to induce their business.

    Accordingly, DaVita came up with an illicit cover-up: it would illegally funnel funds to pay its

    ESRD patients’ commercial premiums for them through a third party—namely, the AKF, a

    purported independent non-profit organization—under the guise of “charitable donations.”

           D.     DaVita Illegally Funnels Funds Through The AKF In Order To Pay For Its
                  ESRD Patients’ Commercial Premiums

           50.    The AKF is the largest provider of third party charitable premium assistance for

    ESRD patients in the country. Significantly, the AKF is funded almost entirely by major dialysis

    providers. Because the AKF is funded by the dialysis industry, the AKF pays ESRD patients’

    insurance premiums only so long as they are on dialysis. This means that if an ESRD patient

    obtains a life-saving kidney transplant, the AKF’s premium assistance for that patient

    immediately ceases.

           51.    During the Class Period, DaVita engaged in a quid pro quo relationship with the

    AKF. DaVita substantially increased its donations to the AKF, whose chairwoman was a former

    DaVita executive, in exchange for that entity using those funds to pay its ESRD patients’

    commercial premiums.      For example, in 2015, the AKF reported over $260 million in

    “donations”—nearly $30 million higher than the prior year, 80% of which came directly from

    two dialysis companies according to press reports: DaVita, and DaVita’s main competitor,



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    Fresenius. In fact, upon information and belief, DaVita donated well in excess of $100 million

    to the AKF that year. In 2016, the AKF’s revenues, heavily funded by DaVita, increased

    significantly again, by nearly $45 million. The AKF also benefitted in other ways. For example,

    in 2013, prior to DaVita’s illicit scheme, Laverne Burton, the AKF’s President and CEO,

    received approximately $420,000 in total annual compensation, with Donald Roy, its CFO,

    receiving $250,000. While the size of those salaries was already surprising for a non-profit

    entity, by 2016, these officers’ compensation jumped dramatically, with Burton receiving in

    excess of $580,000 in annual compensation, and Roy receiving over $330,000.

           52.     At the same time DaVita was increasing its payments to the AKF, it was ramping

    up its patient steering efforts, instructing its employees in its dialysis centers across the country

    to use the AKF program to pressure as many Medicare or Medicaid eligible ESRD patients as

    they could to (i) choose commercial plans instead of Medicaid or Medicare in the first instance;

    (ii) keep their existing commercial insurance in lieu of enrolling in lower-cost Medicaid or

    Medicare plans; or (iii) forego their existing Medicare or Medicaid coverage for a commercial

    plan. DaVita lured these patients to enroll in a commercial plan by promising that the higher

    premiums would be taken care of by the AKF—and, as stated above, by telling patients that

    Medicare and Medicaid were much worse than commercial plans.

           E.      The Accounts of Numerous DaVita Former Employees and Internal
                   Company Documents Confirm the Illicit Steering Scheme

           53.     Plaintiffs’ independent investigation of DaVita’s illicit steering scheme—which

    included numerous interviews with former employees of DaVita’s dialysis centers across the

    country, including upper level employees, and a review of numerous internal Company

    documents—confirms that DaVita intentionally and illegally “steered” as many ESRD patients

    as it could, including those eligible for and already receiving Medicare and/or Medicaid benefits,



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    into commercial plans by paying their premiums for them through the AKF.               Plaintiffs’

    investigation further confirms that DaVita’s steering scheme was ongoing throughout the Class

    Period, systemic, widespread, was perpetrated at the highest levels of the Company’s

    management, and was for the purpose of profiting off much more lucrative commercial

    reimbursement rates for DaVita’s dialysis treatments.

                   1.     Internal Company Documents Show That DaVita Had a Singular
                          Focus on Increasing Its “Private Pay” Patients By Any Means
                          Necessary—Which Soon Led to Patient Steering

           54.     DaVita’s dialysis business was relentlessly focused on a singular goal: to increase

    its “private pay,” or commercially insured, ESRD patients by any means necessary—including

    by illegal steering. Indeed, internal documents show that the Company (i) meticulously tracked

    the acquisition of “private pay” patients at each of its facilities, including “Private Insurance

    Wins,” which measured the number of patients who had been successfully steered into

    commercial plans; (ii) formally incentivized patient steering, including by launching Company-

    wide bonus programs offering lucrative cash awards to employees that acquired the most private

    pay patients; and (iii) prepared recruiting materials for employees that disparaged Medicare and

    Medicaid, and were designed to convince patients that Medicare and Medicaid were far worse

    options than private insurance.

                          i.      The Company Closely Tracked the Acquisition of “Private
                                  Pay” Patients at Each of Its Facilities—Including Patients
                                  Acquired Through Steering

           55.     Internal documents show that the Company meticulously tracked the acquisition

    of “private pay” patients for each of its facilities across the county—including private pay

    patients who were acquired through illegal patient steering.

           56.     For example, each week, senior management in the Pacific Gold Division—one

    of the Company’s largest regions, encompassing dialysis facilities in California, Nevada and


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    parts of Oregon—sent detailed emails and spreadsheets that highlighted the acquisition of private

    pay patients, and urged DaVita employees to increase the percentage of such patients in their

    facilities. These emails, which were called “Active Starts,” were disseminated by Divisional

    Vice Presidents to all Facilities Administrators and Regional Operations Directors, and made

    clear that the exclusive focus for these employees was to acquire more private pay patients. For

    example:

                    A February 25, 2013 “Active Starts” email stated: “We had 7 private pay admits
                     last week (25% of the new patients). This is significantly more than the division’s
                     current % of private pay patients. Nice trend!”

                    An April 1, 2013 “Active Starts” email highlighted that “28.6% of the new patient
                     admits last week were private pay. This is a larger percentage than our current
                     private pay population.” The email also touted “Region 4” in particular, stating:
                     “Region 4’s private pat admits last week was at 66 (4 of the 6 patients admitted –
                     WOW!).”

                    A May 6, 2013 “Active Starts” email announced that “[i]n addition to the 25 new
                     patients that started dialysis with us last week, 8 of them were private pay patients
                     (32%).” The email further exclaimed: “Region 4 had 3 new patients start dialysis
                     last week….100% of them were private pay patients!”

                    A June 17, 2013 “Active Starts” email stated “PG had 31 new patient starts in the
                     division last week. 29% of those starts were private pay,” and exclaimed:
                     “Region 4 had 4 new patient starts and 3 of them were private pay (75%!).”

                    An August 19, 2013 “Active Starts” email exclaimed: “Region 5 had 50% of our
                     new patients start dialysis with private pay insurance!” The email also
                     highlighted that “PG as a division had 18.9% of our patients start dialysis with
                     private pay insurance.”

           57.       In fact, DaVita gave specific “private pay” quotas that each facility had to meet

    by year-end. For example, a presentation entitled “Private Pay Growth” circulated to regional

    Pacific Gold management in March 2014 established specific private pay goals for “Region 2,”

    including a “New PP [Private Pay] admit goal” of 8 private pay patients per month for the rest of

    the year for each of the ten clinics in the region. The presentation itself left no doubt that these

    “goals” were mandatory, warning that the new private pay admissions would be “tracked and


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    reported out from the top down.” Under a slide entitled “What can WE do?,” the presentation

    stated, among other things: “Admit PP patients quickly.”

           58.    A similar presentation entitled “Private Pay Growth” was circulated by Jason

    Uhlman, a manager of the Insurance Management Team, working in Denver as a Senior

    Business Analyst, to management in the Pacific Gold Division in May 2014. This presentation

    tracked the acquisition of “private pay” patients in each of the Division’s five regions, showing

    metrics such as “YTD PP NAG” [year-to-date private pay net acquisition gain], “Annual PP

    NAG Goal,” the “Contributions to Divisional PP NAG” from each of the five regions, and PP

    NPG for each region. The presentation also included “Monthly Net Patient Gains Required for

    Remainder of Year” for each region, meaning the number of new private pay patients each

    region was expected to obtain per month before year-end.

           59.    Significantly, in addition to tracking new “PP admits” (or private pay

    admissions), the presentation also included a section devoted to tracking “New Insurance,” i.e.,

    patients who had recently switched from Medicaid or Medicare to commercial plans. These

    patients were explicitly described in the presentation as “Private Insurance Wins” – meaning

    patients who DaVita successfully steered from Medicare or Medicaid to private insurance. The

    presentation later referred to these “Private Insurance Wins” as a “leading indicator” of the

    Division’s 2014 performance.

           60.    To ensure that Facilities Administrators were implementing the Company’s

    directive to meet private pay goals, the Company also provided each Facility Administrator with

    a “FA [Facility Administrator] private pay growth check list.” The checklist listed as items for

    Facility Administrators to check off, among other things: “My entire team is aware of how

    private insurance and working status can positively impact a patient’s quality of life”; “We




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    celebrate as a team when we make a difference for a patient on this topic”; and “We have

    brainstormed as a team on what else we could do to support private pay growth.”

           61.     Additionally, as former employees stated and as internal documents confirm,

    Insurance Counselors (see e.g., ¶¶ 77-80, 84, 102), were required to regularly circulate large

    internal Company spreadsheets listing all “COMM 1” patients, or patients with commercial

    insurance as their primary insurer, that tracked which commercial insurance plan each patient

    had, the reimbursement rates for dialysis treatments under each plan, and how much money was

    collected by DaVita for each patient. The spreadsheets also included detailed lists of “adds” or

    “losses” of patients with private insurance.

                           ii.    The Company Incentivized Patient Steering

           62.     Internal documents show that the Company adopted a number of Company-wide

    incentive plans, which offered employees substantial cash bonuses—as high as $10,000—if they

    met or exceeded private pay goals. These incentive programs were disseminated to employees in

    the form of “Village Announcements” and formal programs that were entitled, among other

    things, “Private Pay Incentive Program,” “Kidney Smart Incentive Program,” and “Private Pay

    Bonus Program.” All of these Company-wide plans had one overarching goal: to incentivize

    DaVita employees to steer all ESRD patients into commercial plans.

           63.     For example, a “Village Announcement” sent to all “DaVita Citizens” (i.e., to all

    DaVita employees) on March 20, 2013 instructed employees to “[s]ubmit your ideas around

    specific ways to increase our number of patients with private pay insurance.” The announcement

    stated that “[i]deas w[ould] be reviewed by senior leaders,” with winners “receiv[ing] up to

    $5,000 in awards in addition to being recognized at Villagewide!”

           64.     Similarly, in 2014, DaVita implemented formal incentive programs for Company

    employees who successfully acquired the most “private pay” patients. For example, on February


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    11, 2014, soon after the ACA went into effect, Bryan Gregory, the Divisional Vice President for

    the Pacific Gold Division, sent an email announcing a “quarterly incentive program to recognize

    those centers that have made significant contributions to divisional Private Pay performance.”

    The email was sent to all Facilities Administrators in the Division and the “Pacific Gold Board

    Team.” The “key criteria” for the incentive program was listed as “strong private pay growth”

    and “ongoing activities that model our Private Pay efforts.”

           65.     A similar document was circulated to Facilities Administrators by Pacific Gold

    Division management in March 2014, detailing the “Private Pay Incentive Program,” in addition

    to the “Kidney Smart Incentive Program” (with both included in the same document). The

    “Private Pay Incentive Program” listed the same bonuses detailed in the official Company letter

    discussed above, in addition to a $1,000 bonus per quarter for Regional Operational Directors if

    private pay goals were met, and another $10,000 bonus at year end if the Division and region

    both met their private pay goals.   The “Kidney Smart Incentive Program” offered bonuses for

    the most Kidney Smart patients who were “educated”—i.e., steered to private insurance—

    including $2,500 for the “Div. Champ” and $1,500 for the individual “educator.” Extra bonuses

    of $1,000 and $2,000 were offered for “educating” the most stage 4 and 5 ESRD patients and the

    most pre-ESRD patients, respectively. The cover email stated: “Great bonuses and recognition

    available to [Home Program Managers] and [Facility Administrators] that exceed private pay

    growth and Kidney Smart goals. Check it out and go for it!”

           66.     Additionally, in April 2014, an official Company letter was sent by the Group

    Vice President of the “Polaris” Group (of which the Pacific Gold Division was a part) to all

    Facilities Administrators announcing the “2014 Private Pay Bonus Program!” The letter stated:

    “This program will align incentives with one of our top initiatives for 2014 – Private Pay




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    growth.” The email stated that the goal was 9% private pay growth for the “Group,” and “we

    need your full engagement and leadership to be successful.” The email stated employees could

    reach out to their “divisional Private Pay Champion” for support. A series of potential bonuses

    were listed in the email, including a “Facility Level Bonus” of $500 for the Facility

    Administrator and another $500 “for a team celebration.” An additional $300 bonus would be

    issued for achieving “your YTD private pay goal at the end of the quarter.”

           67.     DaVita’s repeated offers of lucrative cash bonuses and Company-wide praise to

    employees who acquired the most private pay patients—including by patient steering—strongly

    incentivized employees to participate in the Company’s illicit steering scheme.

                           iii.    The Company Prepared Materials Training Employees to
                                   Disparage Government Programs While Emphasizing the
                                   Purported Benefits of Private Insurance to Patients—i.e., to
                                   Steer Patients

           68.     Internal documents show that DaVita prepared widely disseminated materials to

    train its employees, under the guise of “educating” ESRD patients about their insurance options,

    to urge patients to obtain the “best insurance”—i.e., commercial insurance—by explicitly telling

    patients that Medicaid and Medicare would not meet their medical needs, and was much worse

    than private insurance.

           69.     For example, on September 30, 2013, Fred Ford, a Regional Operations Director

    in the Pacific Gold Division, sent an email to all Facilities Administrators attaching a PowerPoint

    presentation entitled: “Private Pay Growth.” The presentation included a slide labeled “Best

    Insurance,” listing three points DaVita employees were to discuss with patients when

    “educating” them about their insurance options. All three points emphasized why commercial

    insurance was better than Medicare or Medicaid: “more comprehensive benefits”; “better access

    to care” and “lower total cost.”



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           70.     While DaVita would claim that it was supposedly merely “educating” patients

    about their insurance options, and not steering them to private insurance, the documents show

    that this claim was a ruse. Indeed, significantly, neither this slide nor any other slide in the

    presentation highlighted or discussed any benefits of Medicare or Medicaid. To the contrary, the

    only mention of these programs was to disparage them, listing reasons why they were inferior to

    commercial insurance. For example, the slide notes for the presentation included talking points

    that claimed, among other things, that commercial plans offered better access to specialists than

    Medicare, stating, “Did you know that 1 in 5 specialists today won’t accept new Medicare

    patients? Worse for Medicaid patients!” The slide notes also stated: “Any of you ever been

    frustrated by a Medicaid patient not being able to see a vascular surgeon to get a fistula placed or

    fixed? It happens all the time.” The presentation also asserted that commercial plans were a

    “lower total cost” than government programs, which “may come as a surprise to you.” The slide

    notes also specifically instructed employees to assure patients that “for patients who need help

    with the [commercial] premium, many patients qualify for AKF assistance.”

           71.     The next slide, entitled “What’s your ‘Why’???,” asked Facilities Administrators

    in the slide notes to “[g]ive your 30 second elevator pitch on why PP [Private Pay] matters to you

    (the more personal your story, the better).” The slide notes stated that Facilities Administrators

    should “make this a powerful message your teams can rally behind; set the stage to empower

    them to care about private pay.” The PowerPoint continued with slides that included personal

    stories of patients who had benefitted from private insurance—such as a mother who had a heart

    attack and “needed private insurance in order to access specialist,” and a “[f]ather who couldn’t

    travel to see family in Jamaica without private insurance.” The slide also included a bullet point




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    stating: “Physician’s ‘tale of two patients’ (private ins. provided better continuity of care,

    access).”

           72.     Again, tellingly, these slides, and the entire presentation, did not “educate”

    patients in a balanced and unbiased way about their insurance options— instead, they exclusively

    promoted private insurance to all ESRD patients in order to grow “private pay.” Indeed, the

    presentation nowhere discussed a single benefit of Medicare or Medicaid (for any ESRD

    patients), nor shared personal patient stories or other points about what those programs could

    offer. Instead, the only time the presentation mentioned these government programs was to

    disparage them in comparison to commercial plans, listing their purported shortcomings while

    asserting commercial plans were “best”—for all patients.

           73.     Internal Company training materials sent to DaVita employees in 2014 on how to

    conduct Kidney Smart meetings similarly highlighted what was “best” about commercial

    insurance, while denigrating Medicare and Medicaid. For example, a PowerPoint presentation

    circulated to regional management in the Pacific Gold Division (covering California, Nevada and

    Oregon) in June 2014 entitled “Kidney Smart CKD [Chronic Kidney Disease] Patient Education

    Program Overview,” included a slide about how to “educate” ESRD patients about their

    insurance options during Kidney Smart meetings. The slide claimed that “[p]rivately insured

    patients losing coverage over a two-year period, compared to those who remained insured, were

    more likely to lack a usual source of care, encounter difficulty in obtaining medical care, be very

    dissatisfied with their ability to obtain needed care, and report no physician visits in the previous

    12 months.” As the sole support for this statement, the presentation cited a single study from

    over ten years ago, listed in small print on the last slide. The slide also claimed, in bold, that

    “[i]ndividuals with private insurance were found to be 24% more likely than their counterparts to




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    be listed for renal transplantation before dialysis.” The single study cited to support this claim,

    also listed on the last slide in small print, was over fifteen years old.

            74.     The presentation also included internal “slide notes” of talking points for

    “educators” to discuss with patients about insurance options, which were almost identical to the

    talking points included in the September 30, 2013 PowerPoint presentation about the “best

    insurance” discussed above. As in that presentation, the slide notes included three key reasons

    why commercial insurance was superior to Medicare and/or Medicaid. Again, the first reason

    was “Better Access,” stating: “Did you know that 1 in 5 specialists today won’t accept new

    Medicare patients? Worse for Medicaid patients!” The second was “More Comprehensive,”

    stating: “Studies show that transplant likelihood is 3x greater for patients with Private Insurance

    (22% vs. 7%) – for African Americans, it’s actually 14x higher!” The last reason was “Lower

    Total Cost,” claiming that while commercial premiums were higher, out of pocket costs for

    commercial plans were lower, “[a]nd for patients who need help with the premium, many

    patients qualify for AKF assistance.”

            75.     Again, tellingly, this presentation only included talking points about why private

    insurance was “best,” for all patients. It did not include any information about the benefits of

    government programs for any ESRD patients, and in fact did not mention those programs at all—

    except to describe the ways in which they were inferior to commercial plans. Additionally, the

    claims in the slide notes about why private insurance was “best” were false, and especially the

    claim that privately insured ESRD patients were three times more likely to obtain a life-saving

    kidney transplant (or fourteen times more likely if African American). As former employees

    confirmed, patients enrolled in commercial plans who were reliant upon charitable premium

    assistance from the AKF were unlikely to be approved for a kidney transplant at all. This was




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    because the AKF only assisted patients as long as they were on dialysis, and upon receiving a

    kidney transplant, the AKF’s assistance ceased. These patients would therefore be unable to

    show they could afford post-transplant medications and treatments critical to the transplant’s

    success—a prerequisite for most hospitals to approve patients for a kidney transplant.

           76.     Internal Company documents also confirm that, before and during the Class

    Period, DaVita was directing its Insurance Counselors to actively pressure Medicaid and/or

    Medicare-eligible ESRD patients to forego their government benefits and apply for AKF

    assistance to keep their purportedly superior commercial plans—regardless of medical necessity

    or the patient’s financial needs. In these conversations with patients, which the Company

    meticulously tracked, Insurance Counselors were instructed to emphasize “the benefits of having

    private insurance as primary as opposed to Medicare.”

           77.     Specifically, internal documents show that Insurance Counselors throughout the

    Company had to regularly provide Facilities Administrators and Division management “patient

    recaps” documenting the fact that they were steering patients to private insurance. The “recaps”

    consisted of spreadsheets detailing the Insurance Counselors’ conversations with each patient.

           78.     For example, in an email circulated to Pacific Gold Division management in May

    2014, the Insurance Counselor listed three “New COMM 1 patients” on the “patient recaps”

    spreadsheet. The first patient had obtained a commercial plan prior to becoming a patient at

    DaVita, but was struggling to pay the premiums. The Insurance Counselor noted: “I am

    currently in process of assisting patient in applying for AKF assistance. I explained to patient

    that applying for Medicare would cause patient’s Kaiser to become secondary and Medicare

    would be primary; covered the benefits of having private insurance as primary as opposed to

    Medicare.” Similarly, for the second “New COMM 1 patient,” the Insurance Counselor made




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    sure to note to management that he preemptively “steered” the patient away from enrolling in

    Medicare. “Patient did not inquire about applying for Medicare, but I explained that this would

    cause patient’s Kaiser to become secondary and Medicare would be primary; covered the

    benefits of having private insurance as primary as opposed to Medicare.”

           79.     For the third “New COMM 1 patient,” the Insurance Counselor actually noted

    that he had successfully dissuaded the patient from applying to Medicare, even though “all his

    other physicians and medical providers are not accepting his insurance and has had to pay out of

    pocket for his treatments.”     Indeed, the Insurance Counselor noted that the patient was

    “considering applying for Medicare so that his treatments with other health care providers are

    covered.”    The Insurance Counselor however assured management that he had solved the

    problem, and was “assisting patient in applying for AKF to pay for patient’s portion of the

    premiums.”

           80.     As these documents show, DaVita was relentlessly pushing its employees to

    enroll ESRD patients in private insurance, by coming up with any reason they could (regardless

    of its truth) as to why commercial insurance was “best” (for all patients) and why government

    programs were inferior—i.e., to steer all ESRD patients away from government plans and into

    “private pay” by any means necessary. DaVita also urged employees to tell patients that if they

    could not afford the “best insurance,” they need not worry: the AKF would foot the bill.

                   2.     By 2015, DaVita’s Company-Wide Directive to Steer Patients Into
                          Commercial Plans for Financial Gain Was Explicit, and Internally
                          Referred to As The “Medicaid Opportunity”

           81.     By no later than the summer of 2015, the Company was explicitly directing its

    employees to steer all ESRD patients into commercial plans using the AKF Company-wide.

    This initiative was referred to by former employees and in internal Company documents as the

    “Medicaid Opportunity.” In sum, as DaVita’s own documents provide, DaVita’s employees


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    were instructed to pressure all Medicaid-eligible ESRD patients to enroll in commercial

    insurance plans, backed by the AKF, so that DaVita could profit from much more lucrative

    commercial reimbursement rates.       In other words, the “Medicaid Opportunity” was an

    “opportunity” for DaVita, to manipulate its patients’ insurance choices at their expense, and for

    the Company’s gain.

           82.    For example, CW5 1, a former DaVita Insurance Counselor in New York from

    February 2012 to March 2016,6 described how, in July 2015, she attended a regional meeting in

    North Carolina for DaVita’s “Avanti” region, which covered “the Eastern seaboard.” The

    meeting featured a presentation called “Medicaid Opportunity,” which was given by a Senior

    Vice President (“SVP”) in DaVita’s Corporate Analytics Department. CW 1 recalled that the

    focus of the presentation was to train DaVita employees on how to “sell” patients on ditching

    Medicaid as their primary insurer in favor of commercial insurance. CW 1 stated that during the

    presentation, the SVP also showed the Medicaid reimbursement rates versus the higher

    commercial insurance rates, as well as the number of patients in each region who were currently

    insured by Medicaid. The SVP specifically instructed attendees to “get American Kidney Fund

    to pay for exchange plans, on top of Medicaid”—i.e., get Medicaid patients to enroll in a

    commercial plan as their primary insurer using AKF assistance (with Medicaid then becoming

    secondary). CW 1 explained that signing patients up for the AKF assistance program was “a

    way to force exchange plans on people.” According to CW 1, the directive to get Medicaid


    5
     Former DaVita employees and patients are referred to herein as Confidential Witness “CW __”
    and are referenced in the feminine form to maintain their confidentiality.
    6
     CW 1 worked as an Insurance Counselor at DaVita from February 2012 until March 2016. CW
    1 worked at several facilities in the New York City area. CW 1’s responsibilities included
    counseling kidney patients on insurance, focusing on commercial insurance patient retention and
    maximizing commercial insurance revenue opportunities.



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    ESRD patients to use AKF assistance to enroll in commercial plans was “very, very explicit,

    nothing was implied at all.” CW 1 continued: “It was very explicit that it was all about money,

    it wasn’t about helping patients. That is when I felt they were asking me to be a salesman, not a

    counselor.”

           83.    Other former DaVita employees also confirmed the existence and purpose of the

    Company’s “Medicaid Opportunity” initiative.         For example, former DaVita Facilities

    Administrator CW 2—responsible for DaVita dialysis clinics located on the opposite coast, in

    California, from 2012 to 2016—recalled the same initiative being rolled out in her region during

    the same time period, on an August 2015 conference call with the Regional Operations Director.7

    CW 2 stated that the Company had issued the “Medicaid Opportunity” directive on a “national

    level,” and that during the instructional conference call, the message was clear:      Facilities

    Administrators were responsible for converting any and all Medi-Cal (California’s Medicaid

    program) or Medicare patients at their DaVita facilities to commercial insurance as their primary

    insurer by using AKF assistance. “They [management] hounded us and hounded us,” she said,

    “asking, ‘are you doing this?’” She explained that employees were “[p]ressured to get these

    people (Medicare/Medicaid eligible ESRD patients) signed up to the AKF programs,” and

    “[a]nybody who was on Medicare or Medicaid was asked to sign up for the AKF programs.”

           84.    CW 2 also described how, in the weeks that followed the “Medicaid Opportunity”

    conference call, management held weekly follow up calls. “Each week you didn’t have a person

    signed up who was eligible, you had to explain why.” She stated that, in the dialysis facilities

    she was responsible for, she was required to complete a detailed spreadsheet on a weekly basis to
    7
      CW 2 was a Facility Administrator for DaVita dialysis clinics in California from March 2012
    through February 2016. CW 2 was responsible for setting up clinics, contracts, budgets, etc. CW
    2 directed approximately 13-15 employees and was responsible for the staffing of programs in all
    of those facilities.



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    track progress with regard to getting each of those patients to submit an AKF application so they

    could switch from Medicaid to commercial insurance.             CW 2 also described how the

    environment at DaVita did not permit employees to question the Company’s methods, stating:

    “My social worker was uncomfortable with it – it didn’t seem right to me,” but “I was afraid to

    say anything like ‘I don’t agree with this.’”

           85.     Similarly, CW 3,8 a former Insurance Counselor for multiple DaVita clinics in the

    Austin, Texas area, from August 2015 to November 2015, recalled participating in an 80-hour

    two-week training program at the Company’s headquarters in Denver in August 2015 about

    steering patients off of Medicaid and into commercial plans. CW 3 stated that, during that

    training, at least four DaVita Insurance Counselors from across the country gave detailed

    instructions regarding “steering” techniques to CW 3 and eight colleagues. CW 3 recalled that

    the classes included PowerPoint presentations and role-playing scenarios, and that the trainers

    made clear that it was “important for us to get [the patients] onto private insurance. Even if they

    qualified for Medicare or Medicaid, you were encouraged to get them on private insurance.” In

    fact, CW 3 recalled that steering Medicaid or Medicare patients into commercial or exchange

    plans took two or three full days of the training, with the trainers making comparisons between

    what Aetna would pay for dialysis treatments versus Medicaid or Medicare.

           86.     Internal Company documents confirm that the “Medicaid Opportunity” was a

    Company-wide directive to steer patients off Medicaid and into commercial plans. Indeed, in

    November 2015, DaVita disseminated a Company-wide presentation entitled “Medicaid

    8
      CW 3 worked at DaVita from August 2015 through November 2015 as an insurance counselor
    for multiple clinics in the Austin, Texas area. CW 3 worked in the Silver Spurs region. CW 3
    attended a two-week training course in Denver. Her responsibilities included coordinating with
    social workers and nurse case managers to complete financial assistance assessments and
    complete applications for the AKF.



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    Opportunity Update,” which instructed DaVita employees on how to use AKF assistance to steer

    Medicaid patients into commercial plans. The presentation was circulated by DaVita’s upper

    management to DaVita’s Facilities Administrators across the county, including those responsible

    for the Company’s dialysis facilities in the Pacific Gold Division, Divisional Vice Presidents,

    and Regional Operations Directors.

           87.    The Medicaid Opportunity Update minced no words, and left no doubt that every

    DaVita employee, at every dialysis facility, was responsible for making sure that “all” of

    DaVita’s Medicaid patients applied for AKF assistance to enroll in commercial plans. The

    presentation unequivocally instructed employees to “[s]upport AKF application[s] for all

    enrolled patients”—meaning the Company was not attempting to identify appropriate subsets of

    its patients who actually needed commercial insurance or AKF assistance for medical or

    financial reasons. Rather, it was expressly directing its employees to steer all ESRD patients

    enrolled in Medicaid into AKF-backed commercial plans for its own profit.

           88.    The Medicaid Opportunity Update also made clear that the Company was closely

    tracking and monitoring this process, to make sure that its directives were being carried out. To

    that end, the presentation included a chart tallying the number of AKF applications submitted by

    DaVita employees across the five different regions in the Pacific Gold Division. The “Grand

    Total” was listed as 551 AKF applications submitted by DaVita employees as of that time. The

    presentation made no secret that the patients themselves were not filling out these applications.

    Instead, the “AKF point person”—i.e., a DaVita employee who was specifically assigned the

    role—was “to complete initial application as well as ongoing premium requests.”              The

    presentation went as far as to break down how much time each of these efforts would take,




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    stating the “AKF HIPP Application” would take one hour, while the “Premium Status Request”

    would take 30 minutes.

           89.     The Medicaid Opportunity Update also provided a Company-wide “standard

    operating procedure” for steering. This procedure included a detailed a “Plan of Action” for the

    steering initiative, which broke down the different roles for each DaVita employee in the

    Company’s dialysis facilities across the country.       In other words, in each DaVita facility

    nationwide, the entire facility was to be mobilized to support the Company’s steering efforts.

    For example, the “Plan of Action” stated that Insurance Counselors were to “[p]erform

    enrollment conversations with patients” and “track conversations” with patients. The “Medicaid

    Opp. AKF Point” was to “[s]ubmit initial HIPP [Health Insurance Premium Program]

    Application [to the AKF]” and “[s]ubmit ongoing premium requests”—meaning, again, that

    DaVita employees were actively filling out and submitting ESRD patients’ AKF applications for

    them. Social Workers were to “[p]rovide support in areas with limited capacity for AKF

    process” and “[b]e a resource” for patients with questions. Finally, the Facility Administrators,

    who were in charge of dialysis facilities and had the most duties under the “Plan of Action,”

    were to (i) “[b]e aware of the patients impacted in your facility,” (ii) “[p]articipate in follow up

    conversations with patients as needed,” (iii) “[e]nsure AKF management in your facility is being

    done by designated teammate,” and (iv) “[h]ave a solid process for AKF Application

    submission.” In short, and as this “Plan of Action” shows, the Company sought to have all of its

    facilities across the country operate in a coordinated, meticulous fashion to enroll (or “steer”) all

    ESRD patients into AKF-backed commercial plans.




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                   3.      Former Employees Confirm that, During the Class Period, Patient
                           Steering at DaVita—For the Express Purpose of Obtaining Higher
                           Insurance Reimbursements—Was “Second Nature” at the Company

           90.     Numerous former employees at DaVita dialysis clinics across the country

    described being pressured by the Company to steer ESRD patients eligible for, or insured by,

    government programs to enroll in commercial plans as their primary insurer using AKF

    assistance during the Class Period—or, if they were already insured by commercial plans, to use

    AKF assistance to forego the government programs they were automatically eligible for and

    maintain that insurance at all costs.

           91.     For example, CW 3, who served as an Insurance Counselor for DaVita dialysis

    facilities in the Austin, Texas, area (for DaVita’s “Silver Spurs” region, which included New

    Mexico as well) from August 2015 to November 2015, described how DaVita “always wanted to

    get the best coverage to pay more for treatments,” and Medicaid or Medicare “are horrible payers

    – they don’t pay well.” CW 3 stated that, as a result, “absolutely, [DaVita] would steer [patients]

    away to get private insurance” for the purpose of “ensur[ing] higher rates of reimbursements for

    DaVita.” CW 3 explained: “It was awkward for me, especially coming from the hospital world

    where you used your best judgment and you are supposed to give the patient what they need first,

    not what the provider wants. At DaVita it was the other way around.”

           92.     CW 3 further recalled that her supervisor, a regional manager, instructed her to

    talk to patients about signing up for AKF assistance even if they clearly did not want it: “I do

    recall that my supervisor [] wanted me to talk about the foundations to the patients and they

    clearly weren’t interested. She told me they really don’t have a choice – that it needed to be

    done.” CW 3 admitted, however, that “I didn’t feel comfortable doing it.” CW 3 stated: “They

    [DaVita management] were very hungry for us to make sure we spoke to every single patient to

    make sure to either get them on Obamacare or on something or maybe onto a COBRA plan or to


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    find something.” CW 3 said that, in general, patient steering was “part of the training and also

    something that my direct manager encouraged us to do. It was just a practice everyone did

    across the board, the clinical workers and the social workers and everyone involved in the

    treatment. It became second nature.”

           93.    CW 1, who served as an Insurance Counselor for several DaVita facilities in New

    York from February 2012 to March 2016, shared a similar experience. CW 1 described being

    under constant pressure to keep up the number of patients enrolled in commercial insurance,

    stating: “We weren’t educators. We were revenue generators.” She explained that “the business

    model that was explained to us was that they do not make any profit off the Medicare primary

    patients or the Medicaid primary patients, and their main source of revenue was the

    commercially insured patients.” CW 1 stated that DaVita employees were encouraged to focus

    on their “win ratio,” which was a tally of how many patients an employee had convinced to

    switch to commercial insurance. If a patient was enrolled in commercial insurance, it was

    “great,” but if CW 1 reported she had failed to “save” a patient (i.e., enroll them in commercial

    insurance), her supervisors would “drill and drill,” and even humiliate CW 1, asking why she had

    failed to enroll the patient in a private exchange plan. CW 1 also described how, while AKF

    assistance was supposed to be reserved only for those who were financially needy and could not

    obtain any insurance, DaVita employees indiscriminately used AKF assistance to help patients

    already covered by Medicare or Medicaid to get on private exchange plans. According to CW 1:

    “What DaVita was doing is using the AKF to pay for Obamacare plans without noticing a

    hardship.”

           94.    Similarly, CW 4, a former Insurance Counselor and Clinical Supervisor at DaVita

    dialysis facilities in Oregon (in the “North Star” region, which included parts of Oregon and




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    Washington state) from July 2001 through July 2015, recalled that ESRD patients on Medicaid

    were singled out by the Company, as she said it was always deemed preferable to have Medicaid

    patients put on commercial plans because the pay-outs to DaVita would be much higher than

    what Oregon Medicaid would pay.9 CW 4 explained: “It was always about the bottom line [at

    DaVita]. It always came down to revenue.” CW 4 stated that whenever a patient was identified

    as needing assistance with private coverage, the facility staff would help the patient prepare the

    paperwork for the AKF. CW 4 stated that the instructions on steering patients to the AKF and to

    private insurers came from her insurance management superiors, and the superiors above them.

    CW 4 recalled that the steering of patients to private insurance began when Obamacare kicked

    in, and that both she and her colleagues were trained on how to locate private insurance plans for

    patients on the Obamacare exchanges. Additionally, with regard to deductibles that would

    sometimes apply to commercial policies, CW 4 recalled that DaVita would often write them off

    to make sure patients were not discouraged from signing up: “They would write it off . . . we

    will suck it up.”

           95.     Former DaVita patients also recalled being steered by DaVita employees.

    Specifically, CW 5, whose husband (now deceased) was a dialysis patient at a DaVita clinic in

    Aberdeen, Maryland in early 2016, recalled being “steered” away from Medicare by her

    husband’s assigned Social Worker.10 CW 5’s husband was on her commercial insurance at the

    time he began dialysis treatments at DaVita. CW 5 recalled that the DaVita Social Worker told

    9
     CW 4 was an Insurance/Financial Counselor at DaVita from July 2001 to August 2013 and then
    a Clinical Supervisor from August 2013 to July 2015 in Oregon. CW 4 said her facility was in
    the “North Star” region, as named by DaVita. CW 4 would participate in weekly calls with
    supervisors regarding AKF referrals. CW 4 left the Company due to “unreasonable requests” and
    DaVita “trying to protect the bottom line.”
    10
      CW 5’s husband was a patient with DaVita from January 2016 until he passed away in March
    2016. CW 5 has been a nurse for over 2 decades. Her husband was also a registered nurse.



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    her and her husband not to enroll in Medicare because it would not cover the medications her

    husband would need, and that the Social Worker would not even allow her husband to fill out the

    paperwork to switch to Medicare, which she and her husband wanted as a “safety net.” CW 5

    stated the Social Worker “made [my husband] feel like my insurance was so great that he was

    better off keeping my insurance.” CW 5 further recalled that when she later took a tour of the

    DaVita dialysis clinic in Maryland, the Social Worker giving the tour told her DaVita “educates”

    patients and “tells” them not to enroll in Medicare even though they are qualified because

    Medicare does not cover necessary medications. When CW 5 asked the Social Worker what

    happens if a patient loses his or her private insurance, the Social Worker said DaVita had a

    “system set in place with the American Kidney Fund,” and that “they [the AKF] would cover

    premiums.”

           96.     CW 5’s husband died only two months after beginning dialysis treatments at

    DaVita, and only hours after being seen at a DaVita dialysis clinic, from sepsis caused by his

    hemodialysis catheter. When CW 5 reviewed her husband’s medical records after his death, she

    noticed exorbitant charges to her private insurance company for his dialysis treatments,

    amounting to over $100,000 a month—several of which were listed on days CW 5 knew her

    husband did not receive any dialysis treatments.

           97.     Former DaVita employees also described how obtaining “private pay” patients,

    and patient steering, were key to their job performance at DaVita. For example, CW 4 described

    that pay raises and bonuses at DaVita were directly tied to progress each employee made in

    gaining private coverage for eligible patients. “They based everyone on performance depending

    on if you had a lot of commercial patients,” she recalled. CW 3 also recalled that her regional

    managers stood to get a bonus, on a monthly or quarterly basis, for having the highest number of




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    patients with better-paying private insurance. “The regions got kudos for having the most

    payers,” she said.

           98.     In contrast, former employees also described how, if they failed to obtain private

    pay patients, or questioned the Company’s methods for doing so, their job performance was

    negatively affected.

           99.     For example, CW 2 described she got the sense from DaVita employees at her

    facilities that if they did not comply with the steering initiative, it would be a “problem” for their

    job. CW 1 described similar pressure, stating that “losing” private pay patients would lead to

    poor performance evaluations, and that a big part of an employee’s rating at the Company was

    “your ability to keep people on the commercial plans at the higher revenue.” CW 1 also stated

    that employees at DaVita “were machines” who had to “do everything [DaVita] said without

    question,” stating: “If I questioned things, I was told to shut up.” Other former employees

    described how the constant pressure the Company put on them to steer patients, or to keep their

    private pay numbers up, was a significant factor in their decision to no longer work for DaVita.

                   4.      Former Employees Confirm DaVita’s Upper Management Closely
                           Tracked The Acquisition of “Private Pay” Patients, Including the
                           “Steering” of Patients Into Commercial Plans and Away from
                           Medicaid or Medicare

           100.    Numerous former DaVita employees described—and, as discussed above, internal

    Company documents also confirm—that the Company relentlessly tracked its “private pay”

    patients during the Class period, including private pay patients that were converted as a result of

    the Company’s “steering” directive.

           101.    For example, CW 1, a former Insurance Counselor for DaVita facilities in New

    York from February 2012 to March 2016, stated that she would participate in weekly conference

    calls with her department heads and Divisional Operational Managers regarding the status of



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    private pay patients. She recalled that the documentation prepared for the calls would be very

    detailed, showing which patient had which insurance plan and how much money the Company

    would receive in reimbursements for each.    CW 1 explained that, for example, a patient with

    Aetna had $700 next to his name, while another patient on Medicare had just $250 next to his

    name. CW 1 described that comments would be made during the calls such as: “Oh, look,

    Aetna has given us more money, so we must keep that guy,” or “That guy only has Medicare, so

    we don’t care about him.” CW 1 stated that her sense on these calls was: “When a Medicare

    patient transfers out, who cares? But when a commercial guy transfers out, it was like this big

    disaster. Don’t go! They would break their backs to keep them.”

           102.   CW 1 stated that during the conference calls, participants would go down the list

    of patients on commercial insurance so they could tally “losses,” “saves” and “wins.” If there

    was a “loss”—meaning a commercial patient had been transferred, or lost his or her private

    insurance— CW 1 and her colleagues “were browbeaten for not doing our jobs.” “Losing”

    commercial patients also led to a downgrading of employees’ job performance evaluations:

    “You let six commercial patients go, so now you are a ‘C’ instead of a ‘B.’” “Win ratios” were

    also discussed on these calls, or the tally of how many patients an employee had convinced to

    switch from a government program to commercial insurance.

           103.   CW 4, a former DaVita Insurance Counselor and Clinical Supervisor for DaVita

    dialysis clinics in Oregon from July 2001 to July 2015, also recalled weekly calls during which

    she was asked to discuss progress on getting private coverage for patients.       She and her

    colleagues were expected to keep track of how many Medicaid or uninsured patients they had

    successfully referred to the AKF for private insurance. “They [management] would want to

    know what steps you have taken and what you are doing to rectify matters.” CW 4 stated:




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    “They were on top of our numbers all the time.” CW 4 explained that there were many calls

    about how many people had been switched to private policies and “we were put on the hottest

    seat” if anyone had too many people who were still uninsured or had not been put on a

    commercial plan. CW 4 also similarly recalled “huge” spreadsheets, where employees were

    expected to record each and every patient who was put on a private plan.

           F.      DaVita’s Scheme Slowly Unravels

                   1.     By August 2016, Public Scrutiny of DaVita’s Practices Intensified,
                          and Was Met By Defendants’ Emphatic Denials

           104.    On July 1, 2016, UnitedHealth sued kidney-care chain American Renal

    Association (“ARA”) for fraud.      The complaint alleged that ARA systematically targeted

    Medicaid and Medicare-eligible patients and, through deception and unlawful means, convinced

    them to drop or reject their affordable government insurance options and enroll in

    UnitedHealth’s commercial plans instead by funneling funds through the AKF in the form of

    “donations.” In other words, UnitedHealth alleged that ARA was engaged in an illicit scheme

    that was almost identical to the scheme DaVita had been secretly perpetrating for over a year.

           105.    The news of UnitedHealth’s lawsuit was not lost on DaVita’s investors. On an

    August 8, 2016 earnings conference call, analysts asked DaVita about its own relationship with

    the AKF, and whether there was anything investors should be concerned about. Defendants

    responded by emphatically denying any impropriety, claiming DaVita’s relationship with the

    AKF adhered to the letter of the law. For example, Defendant Rodriguez stated that Defendants

    “stay and abide by the rules that were outlined by the OIG.” Defendant Thiry similarly assured

    investors that the Company’s actions were above-board, stating: “If you’re on Medicare, you’re

    not eligible” for commercial plans. In response, DaVita’s stock price dropped approximately 7%

    over the next two trading days.



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           106.   On August 18, 2016, CMS issued a Request for Information (“RFI”) regarding

    illegal “steering” by dialysis companies of Medicare/Medicaid-eligible ESRD patients into ACA

    plans using AKF programs in order to collect higher reimbursement rates. Specifically, CMS

    stated: “We are concerned about reports that some organizations may be engaging in enrollment

    activities that put their profit margins ahead of their patients’ needs.” CMS expressed several

    key concerns about these allegations, stating: “These actions can limit benefits for those who

    need them, potentially result in greater costs to patients, and ultimately increase the cost of

    Marketplace coverage for everyone.” Significantly, in the RFI, CMS made it abundantly clear

    that: “It is improper to influence people away from Medicare or Medicaid coverage for the

    purpose of financial gain.” CMS’ public letter to dialysis providers, issued the same day,

    elaborated on this point, stating that “[e]nrollment decisions should be made, without influence,

    by the consumer,” and that the Social Security Act “prohibits selling such a person insurance

    coverage knowing it duplicates such Medicare and/or Medicaid benefits.” In reaction to the

    disclosure about the CMS inquiry, DaVita’s stock price dropped approximately 4.7%.

           107.   Numerous responses to the RFI—including from former DaVita social workers

    and commercial insurers DaVita contracted with—asserted that patient “steering” was a rampant,

    widespread and systemic occurrence at DaVita facilities across the country. For example, Teri

    Browne, PhD, MSW, NSW-C, LSW, a former nephrology social worker at both Fresenius and

    DaVita, provided a response to the RFI sating that patient steering was how DaVita did business:

    “I know that there is indeed ‘Inappropriate Steering of Individuals Eligible for or Receiving

    Medicare and Medicaid Benefits to Individual Market Plans.’”

           108.   Dr. Browne worked in the nephrology community for over two decades and is an

    international nephrology social work expert, having presented across the country and world on




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    kidney disease and nephrology social work issues. Dr. Browne explained that patient steering

    negatively impacted ESRD patients in a myriad of ways, including by making it difficult for

    them to obtain a life-saving kidney transplant.          Dr. Browne explained the significant

    consequences of DaVita’s steering as follows:

           What has happened is that patients are steered into these commercial insurance
           plans (or persuaded to keep their commercial insurance despite their eligibility for
           Medicare or Medicaid) with impossibly high premiums, which are paid by the
           American Kidney Fund. This allows the dialysis unit to charge commercial rates
           for services. However, as soon as the patient receives a transplant, the patient
           cannot keep their insurance, because this ‘charity’ premium funding from [the
           AKF] disappears (as [the AKF] only helps those who receive dialysis because
           their funds for this program come from dialysis companies). Patients are then
           stuck with this market plan, which is most definitely not in their best interest as a
           transplant patient as they cannot afford the premiums that [AKF] once paid. In
           worse case scenarios, they also are stuck with penalties because they did not
           enroll in Medicare when they were eligible. This results in dialysis patients not
           being eligible to get listed for a kidney transplant, or have serious consequences
           related to having no/inadequate insurance once they are transplanted . . . [P]atients
           are steered into insurance decisions . . . that are only best for dialysis companies’
           profits, not patients’ transplant pursuit.

           109.   Dr. Browne also stated she had “personally heard” DaVita representatives “talk

    about helping patients get commercial insurance as a priority (with [the AKF] paying the

    premiums), and [] questioned them about the negative consequences for patients related to

    getting kidney transplants (to no avail).” Dr. Browne concluded that patient steering “is a

    serious barrier to getting patients transplants…absolutely unacceptable and unconscionable.”

           110.   Other public comments in response to the RFI further evidenced systemic

    “steering” at DaVita. For example, one response from a former insurance counselor at DaVita

    referenced a meeting in North Carolina where the corporate “Analytics” department “came up

    with this plan to convince our Medicaid only enrolled patients to enroll into exchange and

    individual plans”—i.e., the anonymous contributor corroborated the same meetings and

    presentations that other former DaVita employees had recounted:



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           Despite our objections, we were told [convincing Medicaid patients to switch to
           commercial plans] was mandatory. We had calls and meetings surrounding ‘our
           numbers’ and were reprimanded for not enrolling enough people by the Regional
           Operations Director. If a patient refused, we were forced to keep approaching
           them until they gave in and it was implied we shouldn’t take no for an answer. In
           most cases, we were required, if the patient is not enrolled in Medicare but still
           eligible, that they should enroll into an exchange plan because of its better
           coverage. We felt extreme pressure to deliver these enrollments and were
           chastised for not getting the numbers up.

           111.    Another former DaVita social worker for two DaVita clinics in Sacramento,

    California between March 2015 and March 2016 described the Company’s “unethical

    practice(s),” including the launch of “an individual market plan initiative” that “tasked the social

    workers with identifying our patients who were insured with ‘Medi-Cal Only.’” She stated:

           They asked us to ‘educate’ the patients with marketing material DaVita designed
           specifically to entice the patient into enrolling in a secondary private payer plan
           with the promise of being able to travel outside of the state and improved chances
           of passing financial clearance for kidney transplant. DaVita also assured our most
           vulnerable population of patients that they would not have to worry about paying
           their health insurance premium because our Insurance Counselors would
           preapprove them for AKF HIPP [Health Insurance Premium Program] grant.

           112.    Still another former DaVita insurance counselor, in Missouri, submitted a

    statement confirming rampant and systemic patient steering at DaVita—and that DaVita closely

    tracked “their AKF enrollees and how much money goes for each person that receives

    assistance.” In fact, this former employee verified that “DaVita insurance counselors . . . have

    the specific goal to make sure patients can obtain higher paying plans than Medicare,” and that

    “there is pressure to put everybody on the [AKF] program.”

           113.    Commercial insurers also responded to the RFI, confirming patient steering and

    asking CMS to put a stop to it. For example, in Aetna’s response, Aetna referred to a North

    American Equity Research analysis of DaVita’s practices, which highlighted the Company’s

    sudden, dramatic and disproportionate increase of “100 basis points” in commercial patients after




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    the ACA went into effect, and that “inappropriate steering could have been a significant driver of

    the growth in [DaVita’s] commercial customer base.”

           114.    Blue Cross of Idaho also singled out DaVita in its response, noting that the

    Company, along with Fresenius, provides “nearly 80% of [the AKF’s] annual donations – which

    exceeded $260 million in 2015.” The response further highlighted that these two companies’

    control of the market “has enabled them to extract robust commercial payment rates” that were

    “substantially in excess of Medicare and Medicaid payment rates.” Because of this disparity, the

    response noted that the “financial incentives for DaVita and Fresenius” to steer are “substantial,”

    and that “their funding of AKF furnishes the vehicle” to pay for commercial premiums.

           115.    Blue Shield of California submitted a response stating it had conducted an internal

    investigation of patients receiving AKF assistance. The investigation revealed that Blue Cross

    had paid out tens of millions of dollars more for ESRD patients receiving AKF assistance,

    dramatically impacting the entire insurance pool, and that the AKF programs were “designed for

    the purpose of steering patients into commercial individual market plans, and to defer and deter

    those patients from enrolling in Medicaid and Medicare.”

           116.    Blue Shield of California stated its internal investigation also revealed the

    mechanics of the steering scheme, which it claimed was occurring at DaVita. The response

    stated that counselors and social workers would “approach patients about ‘financial assistance’

    with insurance premiums, but offered “no information about Medicare eligibility to members.”

    The response noted that DaVita’s misinformation campaign led to several patients being unaware

    that “they were Medicare eligible until told by our interviewer,” or that “they believed

    Medicare/MediCal plans do not cover dialysis.”




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                   2.     Defendants Emphatically Denied the Steering Allegations in the CMS
                          RFI and Subsequent Investigative Reports Further Exposing The
                          Company’s Unlawful Practices

           117.    Despite the multitude of specific reports detailing DaVita’s steering practices,

    including from former DaVita social workers, insurance counselors, and commercial insurers,

    the Company’s September 22, 2016 response to the RFI was one of denial. In short, DaVita

    insisted: “We do not steer,” and instead that its practice was to merely “educate” patients about

    all of their insurance options, of which ACA exchange plans were only one. DaVita’s denials

    echoed Thiry’s earlier public statements that ESRD patients independently enrolled in ACA

    exchange plans by “personal choice.” Specifically, DaVita stated:

           DaVita does not steer patients toward any particular insurance option or plan.
           DaVita educates its patients so that they are able to make informed decisions that
           are in their best interest. Moreover, DaVita does not pay patients’ health
           insurance premiums. Charitable assistance provided to [ESRD] patients by the
           [AKF HIPP] is sufficiently separate from provider contributions to the AKF and
           provides invaluable support to patients most in need.

           118.    On the heels of DaVita’s flat denials of its steering practices, on October 23,

    2016, the St. Louis Post-Dispatch published an investigative report based on internal Company

    emails and interviews with former DaVita employees. While the report referenced DaVita’s

    claim that it merely “educates” patients and does not steer, the report stated that internal

    Company documents demonstrated otherwise, including a “systematic approach” to steering

    patients towards AKF-backed plans, and that “DaVita employees were instrumental in helping

    patients enroll by helping complete applications for the plans and for the American Kidney

    Funds.” Notably, the report also confirmed that the “initiative was referred to as the ‘Medicaid

    Opportunity’ in internal emails.”

           119.    The report went on to detail how the Company targeted Medicaid patients in

    particular, with Company brochures making false claims to patients about how private insurance



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    coverage would offer access to better care and faster kidney transplants. The brochures also

    attempted to “sell” patients on switching to a commercial plan by telling them it would allow

    them to travel out of state, and that the coverage was “low to no cost and encouraged patients to

    reach out to social workers and insurance counselors to learn more.”

           120.    The report also revealed how the Company closely tracked employees’ “steering”

    efforts, by monitoring “how many patients were interested in commercial coverage and the

    percentage of those that had been talked to by employees about their options.” For example, the

    report quoted one internal email that stated: “Hooray! The Village [DaVita] has completed over

    75% of interest conversations, and over 7,200 patients will receive enrollment education on the

    specific plans available in their market.” The report stated that “[t]he goal outlined in the emails

    was to hit 100 percent of ‘interest conversations’ by late October.”

           121.    The report also described how “disinterested” patients were also closely tracked

    “and their cases were reviewed by division vice presidents and regional operational directors.”

    The report stated: “The emails instructed that division leadership teams should conduct weekly

    or biweekly calls to discuss ‘validation’ for patients who are not interested in this opportunity.”

           122.    In reaction to the Post-Dispatch article, DaVita’s stock price dropped $2.86 per

    share, or nearly 5%, wiping out $565 million in Company market capitalization.

                   3.      DaVita Announces The Suspension of AKF Assistance for its
                           Medicaid Patients and Downplays the Potential Financial Impact to
                           the Company

           123.    Under increasing regulatory pressure, and in the wake of the St. Louis Post-

    Dispatch report revealing internal Company documents that confirmed DaVita’s steering

    scheme, on October 31, 2016, DaVita issued a press release effectively admitting that it had been

    steering certain patients away from Medicaid and into commercial plans. Specifically, the

    Company announced that, “effective immediately,” it would “suspend support for applications to


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    the [AKF] for charitable premium assistance by patients enrolled in minimum essential Medicaid

    coverage who are seeking additional coverage on a 2017 ACA Plan.”

           124.    The financial impact of this policy change was estimated at up to $140 million,

    with up to $90 million in additional costs. While DaVita downplayed its suspension of AKF

    assistance for this subset of patients by saying it impacted only 1% of its total patient population,

    the potential $140 million comprised 16% of its $880 million in 2016 profits—and if DaVita

    were to incur the full $230 million loss, it would comprise nearly 18% of the Company’s

    operating income, or 26% of its 2016 profits.

           125.    Nevertheless, DaVita continued to mislead the public regarding its steering

    practices, intentionally minimizing both the fact that it had been steering patients and the

    significant contribution of the steering scheme to the Company’s profits. Specifically, DaVita

    again claimed that it merely provided “education” to its patients regarding insurance options, and

    that its patients chose those plans out of their own accord. The Company also insisted that the

    number of patients affected by its policy change was “only a small number.”

           126.    Analysts began to highlight the inconsistencies and deficiencies in DaVita’s

    disclosures. An October 31, 2016 J.P. Morgan report, entitled “DVA Sizes a Portion of AKF

    Exposure,” commented that without the Medicaid patients who switched to AKF-backed ACA

    plans, DaVita’s “dialysis operating income growth was negative in 2014 and 2015 excluding the

    benefit of shifting these patients into ACA plans.”

           127.    The Company’s disclosures regarding its AKF exposure were also materially

    incomplete. Specifically, DaVita’s October 31, 2016 press release listed only the financial

    impact for the total number of ESRD patients with ACA plans who were receiving AKF

    assistance—not the total number of ESRD patients with commercial plans who were receiving




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    AKF assistance (i.e., including those with COBRA and group plans). This omission was highly

    material and deliberate, seeking to conceal that, as DaVita would ultimately be forced to admit

    by the end of the Class Period, over 75% of its profits were directly attributable to its illicit

    relationship with the AKF.

           128.    On DaVita’s November 2, 2016 third quarter earnings call, DaVita reaffirmed its

    prior statements that it had done nothing improper with regard to patient steering, and continued

    to minimize the impact. Specifically, Defendant Rodriguez claimed the Company’s change in

    policy with regard to the AKF was not permanent, stating:          “[W]e have only temporarily

    suspended support for applications to the American Kidney Fund for patients enrolled in

    minimum essential Medicaid coverage,” and that the Company was awaiting formal guidance

    from CMS. Rodriguez also emphatically insisted “[o]ur historical practices were legal and

    compliant.” Rodriguez otherwise continued to downplay the issue, stating, among other things:

    “Just a small portion of our Medicaid patients made the choice to purchase an ACA plan. And

    they did so for their own personal reasons, such as to have access to specialists who do not

    accept Medicaid, or increased chance of qualifying for transplantation or other reasons.”

           129.    During the call, Thiry echoed Rodriguez’ statements, claiming: “we fulfilled our

    regulatory responsibility to provide comprehensive education to our patients,” and that “a very

    small percentage of our Medicaid patients determined that an ACA plan was better for them.”

    Thiry also claimed that because DaVita knew it would receive much higher rates for any patients

    who switched to a private plan, it had created a “very intense oversight process” and “did

    everything possible to live up to the CMS standards.”

           130.    When, later on the call, an analyst asked the Company to address “comments

    from either current or former DaVita employees who talked about being pressured to sign people




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    up on commercial plans,” Rodriguez responded by “highlight[ing] that the numbers are small,”

    while claiming that a minority of the Company’s employees must have somehow negatively

    experienced its “intense oversight” to prevent patient steering (i.e., as steering).

           131.    Of course, rather than creating a “very intense oversight process” to make sure

    that the Company did “everything possible” to present information about all insurance options to

    its patients objectively, DaVita did the exact opposite. It created a “very intense oversight

    process” to pressure its employees, nationwide, to steer patients into commercial plans for the

    Company’s profit and at the patients’ expense. Moreover, the Company’s practices were not

    “legal and compliant”—far from it. DaVita was, instead, illicitly steering ESRD patients into

    commercial plans and paying its patients’ commercial premiums for them by funneling funds

    through the AKF, in direct contravention of CMS regulations, the Social Security Act, the 1997

    OIG opinion and the federal anti-kickback laws.

           132.    Also during the call, an analyst from J.P. Morgan asked Thiry to quantify the

    Company’s full exposure to the AKF, stating: “Any chance you could tell us what percentage of

    your commercial patients, if you know it, receive premium assistance from the AKF?”

    Tellingly, Thiry refused to answer the question, remarkably stating that it was not in the market’s

    “best interests”: “I think at this point, we’ve decided that disclosing that is not in your best

    interests, although we’ll continue to stare at that each quarter.”

                   4.      CMS Issues An Interim Rule, Leading To Ramped Up Scrutiny of
                           DaVita’s Relationship With The AKF

           133.    On December 14, 2016, CMS issued an interim rule requiring dialysis providers

    to disclose to commercial insurers which patients were receiving AKF assistance, thereby

    empowering commercial insurers to refuse to insure those patients (which they were already

    legally permitted to do, and encouraged to do by CMS). In its rationale for the interim rule,



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    CMS noted that steering was “widespread”; that dialysis providers were “paying for or arranging

    payments” for patients’ premiums, among “a range of concerning practices”; and that these

    practices lead to various harms to patients, including “negatively impacting their determination

    of readiness for a kidney transplant”:

           Comments [in response to the August 18, 2016 RFI] indicated that dialysis
           facilities are involving themselves in ESRD patients’ coverage decision and that
           this practice is widespread. In addition, all commenters on the topic – including
           insurance companies, dialysis facilities, patients, and non-profit organizations –
           stated that they believe many dialysis facilities are paying for or arranging
           payments for individual market health care premiums for patients they serve . . .
           [C]omments [] documented a range of concerning practices, with providers and
           suppliers influencing enrollment decisions in ways that put the financial interest
           of the supplier above the needs of patients . . . Comments also described that,
           even though it is financially beneficial to suppliers, enrollment in individual
           market coverage paid for by dialysis facilities or organizations affiliated with
           dialysis facilities can lead to three types of harm to patients: negatively impacting
           their determination of readiness for a kidney transplant, potentially exposing
           [them] to additional costs for health care services, and putting them at significant
           risk of mid-year disruption in health care coverage.

           134.    On December 25, 2016, The New York Times published an exposé on the

    American Kidney Fund that further confirmed DaVita’s illicit steering scheme, entitled:

    “Kidney Fund Seen Insisting On Donations, Contrary to Government Deal.”                The article

    described how, for years, the AKF intentionally favored its biggest donors, including DaVita, by

    giving premium assistance to their ESRD patients—and denying such assistance for patients of

    dialysis companies who did not donate to the fund.

           135.    Specifically, the article detailed “multiple cases” in which the AKF “pushed back

    on workers at clinics that had not donated money, discouraging them from signing up their

    patients for assistance.” The article was based on “interviews with more than a dozen social

    workers, employees of dialysis clinics, insurance officials and regulators, and a former executive

    at the charity” from “about a half-dozen states around the country” who were “called randomly.”

    The article also revealed that, until recently, the AKF’s own guidelines on its website included


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    an “Honor System” instructing dialysis providers to track the amount of money their patients

    received from the AKF and donate an equivalent amount back to the program in order for

    patients to receive premium assistance.

           136.   On January 6, 2017, the Department of Justice opened a probe on the Company,

    and DaVita announced that the United States Attorney’s Office for the District of Massachusetts

    served a subpoena on the Company seeking “documents relevant to charitable patient assistance

    organizations, particularly the American Kidney Fund, including documents related to efforts to

    provide patients with information concerning the availability of charitable assistance.” On this

    news, DaVita’s stock fell $2.41, or 3.7%, from $65.79 per share on Friday, January 6, 2017 to

    $63.38 per share on Monday, January 9, 2017.

           137.   On January 9, 2017, DaVita and other dialysis providers, in addition to a patient

    advocacy group controlled by DaVita, sued CMS in federal court in Texas to stop the interim

    rule from going into effect. The court enjoined implementation of the rule on technical grounds,

    holding that it violated the Administrative Procedures Act by failing to provide appropriate

    notice of the rule or enough time to comment.       Tellingly, despite DaVita’s claim that its

    suspension of AKF assistance for Medicaid patients to switch to commercial plans was

    temporary pending CMS’ interim rule, DaVita did not resume using AKF assistance to switch

    Medicaid patients onto commercial plans.

           138.   On January 12, 2017, Change to Win Investment Group (“CtW”), a shareholder

    activist group that aims to hold public companies accountable, wrote a letter to DaVita’s board

    questioning the Company’s suspicious uptick in commercial patients after the ACA went into

    effect and its improper relationship with the AKF. Specifically, the letter expressed concerns

    “that DaVita may have failed to comply with CMS rules surrounding the signing-up of




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    Medicaid-eligible patients for commercial insurance through the [ACA] exchanges over the past

    three years.” The letter further asked DaVita to “[d]isclose corporate contributions to the [AKF],

    and the percentage of DaVita’s commercially insured patients receiving premium assistance

    from the AKF, since January 1, 2014.”

           139.    The letter also highlighted that “following a steady decline in the share of patients

    with commercial insurance – from 36% in 2007 to 33% in 2014 – this trend reversed in 2015 in a

    100 basis point jump.” The letter further underscored DaVita’s prior refusal to disclose the

    Company’s percentage of commercially insured patients receiving AKF assistance:

           Independent financial analysts have estimated that changes to the rules governing
           third-party insurance support for dialysis patients could cost DaVita an additional
           $270 million to $670 million in annual pretax income. Unfortunately, DaVita has
           refused to answer analyst questions concerning the percentage of its commercial
           patients receiving premium assistance or comparable financial support from the
           AKF, with Chairman and CEO Kent Thiry remarkably stating that “I think at this
           point, we’ve decided that disclosing that is not in your best interests.”

                   5.     The Company’s Full Exposure to its AKF Relationship Emerges

           140.    In 2017, the truth regarding the full impact of DaVita’s steering scheme with the

    AKF, and the Company’s staggering exposure to that scheme, began to emerge.

           141.    On February 24, 2017, the Company filed its Form 10-K with the SEC, reporting

    that, in 2017, commercial payers—who by now had gotten wind of DaVita’s scheme to steer its

    patients into commercial plans with AKF assistance so it could profit off high commercial

    reimbursement rates—were amending their policies to refuse to accept charitable premium

    assistance from foundations like the AKF:

           In 2017, a number of commercial payers have incorporated policies into their
           provider manuals refusing to accept charitable premium assistance from bona fide
           non-profit organizations, such as the American Kidney Fund, which may impact
           the number of patients who are able to afford commercial exchange plans.




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           142.    On May 2, 2017, DaVita held its first quarter earnings call, during which it

    confirmed “lower enrollment of patients on the ACA plans.” The Company also disclosed that it

    had in fact lost all of the 2,000 Medicaid patients who were enrolled in ACA plans with AKF

    assistance, causing its commercial mix to drop to 11%. This meant the Company would absorb

    in 2017 the full $140 million impact disclosed in the October 31, 2016 press release. In reaction

    to this news, DaVita’s stock dropped over 5%.

           143.    On May 25, 2017, the Company held its “Analyst/Investor Day.” During that

    conference, an analyst again asked if Thiry could provide disclosure regarding “AKF funding of

    the commercial plans outside of the ACA?” Remarkably, Thiry again responded by refusing to

    answer the question because “it would not be in your best interest for us to start providing all

    sorts of detail on that other chunk.”

           144.    Then, on April 14, 2017, Aetna sued DaVita in Pennsylvania state court, seeking

    disclosure of DaVita’s patients receiving charitable premium assistance from the AKF pursuant

    to the parties’ contract (which DaVita had refused to provide).        Aetna’s lawsuit directly

    referenced the litany of steering allegations lodged against DaVita since CMS’ August 2016 RFI.

           145.    On August 1, 2017, DaVita reported disappointing second quarter earnings, which

    dropped 15% compared to the same period in 2016 (from $210 million to $179 million). DaVita

    attributed these poor results to the decrease in its commercial mix, which was causing the

    Company to earn less revenue per treatment: “We continue to expect full-year revenue per

    treatment in 2017 to be down 1% to 2% from full-year average in 2016.” The fact that DaVita

    was continuing to lose commercial patients even after the initial $140 million loss from its

    suspension of switching Medicaid patients to AKF-backed commercial plans revealed that (i) the

    Company was far more reliant on AKF assistance than what it had disclosed; and (ii) commercial




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    payers were continuing to successfully refuse to insure ESRD patients who were paying their

    premiums with AKF assistance. In reaction to this news, DaVita’s stock dropped nearly 10% on

    heavy trading volume.

                   6.       The Full Magnitude of Defendants’ Steering Fraud is Revealed

           146.    In the fall of 2017, due to a storm of analysts’ questions and estimates, the

    Company could no longer conceal the full exposure it had to its illicit relationship to the AKF.

           147.    On September 22, 2017, the Southern Investigative Reporting Foundation

    (“SIRF”) published an exposé on DaVita, revealing that as much as 50% of the Company’s

    operating income was attributable to its illicit relationship with the AKF. Specifically, the report

    revealed that: “The Company’s finances, according to [SIRF’s] accounting analysis, appear to be

    massively levered to an opaque non-profit, the American Kidney Fund, that may provide up to

    half its operating profits.” The report stated in pertinent part:

           Using DaVita’s [SEC] filings, the AKF’s Internal Revenue Service annual Form
           990 filings and a little extrapolation, [SIRF] estimates that at a minimum, AKF’s
           support helps generate between 40 and 45 percent of the Kidney Care unit’s
           estimated earnings before interest and taxes.”

           148.    The report went on to state that “[w]hat makes AKF’s role so astounding is that

    [DaVita’s] handsome profits came from a base of about 9,000 dialysis patients, barely more than

    four percent of DaVita’s 194,600 patients.” The report also opined on Thiry’s refusal to disclose

    the Company’s full exposure to the AKF, stating: “Thiry’s reticence is a function of the fact that

    the AKF relationship is – in the parlance of value investors – DaVita’s sole moat, or a

    sustainable economic advantage separating it from competitors.” In reaction to this report,

    DaVita’s stock dropped again, over 6%, from $61.26 to $57.49.

           149.    Then, on October 9, 2017, J.P. Morgan published a report downgrading DaVita’s

    stock, based on its estimate that “as much as 60-80%+ of DVA’s earning power is derived from



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    its AKF relationship.” The report reached this conclusion as a result of the AKF’s “updated

    disclosures”—specifically, the AKF had recently disclosed that it was assisting a total of 21,000

    non-ACA commercial patients with their premiums (i.e., COBRA and group plan patients).

    Applying DaVita’s 38% market share to this figure, the report extrapolated that DaVita’s non-

    ACA commercial patients being assisted by the AKF amounted to approximately 8,000 patients,

    comprising a staggering “60-80%+ of DVA’s earning power.”            The report stated that this

    exposure was “in addition to [the Company’s] previous HIX-subsidized enrollment disclosure

    ($230m or 18% of total earnings).”

           150.    This figure was, of course, substantially higher than the SIRF’s report’s

    conclusion. The J.P. Morgan report also noted that “DVA has refused to publicly disclose its

    total number of AKF-subsidized commercial patients,” and emphasized that“[u]ntil we can

    receive greater clarity to the contrary, we advise investors to underweight DVA shares.” The

    report concluded that “[t]his earnings power is at risk if the legal legitimacy of the AKF is

    compromised by a possible DOJ investigation AND as health plans ferret out subsidized patients

    that they are under no legal obligation to underwrite.”

           151.    In reaction to this report, DaVita’s stock dropped nearly 10% from $59.82 to

    $53.89, the lowest it had been since late October 2016.

           152.    On October 10, 2017, under mounting pressure from investors and analysts,

    DaVita was forced to confirm analysts’ estimates that the Company’s full exposure to its

    relationship with the AKF impacted more than 75% of its $880 million in 2016 profits.

    Specifically, the Company revealed that, altogether, $680 million of its earnings were reliant

    upon its illicit relationship with the AKF, or more than three times greater than the $230 million

    the Company had initially asserted was at risk in its October 30, 2016 press release. The




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    Company disclosed that this was because a staggering 4,300 patients—in addition to the 2,500

    already disclosed—were receiving AKF assistance for commercial plans, including 4,000

    receiving AKF assistance for “employer group plans and COBRA plans.” DaVita estimated that

    its loss in operating income if these patients could no longer receive AKF assistance—or if

    insurers refused to cover them—would amount to $450 million in financial exposure (in addition

    to the $230 million potential impact already disclosed), resulting in a total of $680 million at risk

    because of the Company’s illicit steering scheme.

    VI.    DEFENDANTS’ FALSE AND MISLEADING STATEMENTS AND OMISSIONS

           153.    Defendants made false and misleading statements and material omissions during

    the Class Period in violation of Sections 10(b) and 20(a) of the Exchange Act, and Rule 10b-5

    promulgated thereunder.      Throughout the Class Period, DaVita’s press releases, investor

    presentations, and public filings made with the SEC included material misstatements and/or

    omissions concerning the Company’s financial results, which included revenue derived from

    insurance plans in which DaVita, through the AKF, was improperly paying for patients’ health

    care premiums.

           154.    Defendants repeatedly emphasized that for those patients that do not otherwise

    qualify for dialysis reimbursement through government-sponsored programs such as Medicare or

    Medicaid, DaVita supported commercial insurance programs paid for by the AKF, a purported

    third-party 501(c)(3) charity. Defendants failed to disclose, however, that DaVita improperly

    steered renal care patients with government-sponsored health insurance into private health

    insurance plans to maximize corporate profits. Patients were steered under the guise that they

    would gain coverage that was superior and typically out of reach financially. In reality, steering




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    patients into commercial plans could result in the disruption of care associated with a change in

    network providers, and actually limited patients’ ability to receive kidney transplants altogether.

           155.    Defendants’ representations regarding charitable premium assistance and its

    relationship with the AKF were false. These material misstatements and omissions had the cause

    and effect of creating in the market an unrealistically positive assessment of DaVita’s business,

    operational status, and future growth prospects as the Company was relying on improper and

    unlawful business practices to boost profitability.

           A.      Statements Regarding 2014 Annual Results

           156.    On February 26, 2015, the Company filed its Form 10-K with the SEC for the

    year ended December 31, 2014 (“2014 Form 10-K”). The 2014 Form 10-K was signed by

    Defendants Thiry and Hilger. The 2014 Form 10-K was certified by Defendant Thiry and

    DaVita’s then-CFO Garry E. Menzel, who resigned in March 2015 after “a slate of high-profile

    civil and criminal investigations” and less than two years at the Company.11

           157.    The 2014 Form 10-K falsely stated that only “some patients who do not qualify

    for Medicaid” and “cannot afford secondary insurance” were receiving AKF assistance, and that

    DaVita’s “voluntary contributions” were charitable in nature:

           Some patients who do not qualify for Medicaid, but otherwise cannot afford
           secondary insurance, can apply for premium payment assistance from charitable
           organizations through a program offered by the American Kidney Fund. We and
           other dialysis providers support the American Kidney Fund and similar programs
           through voluntary contributions.

           158.    The statements in paragraph 157 above were materially false and misleading, and

    omitted material facts when made. Specifically, the statement set forth above limiting the AKF’s

    11
       Susan Morse, “DaVita HealthCare CFO resigns after settlements sting dialysis provider,”
    (Healthcare Finance Mar. 31, 2015), available at http://www.healthcarefinancenews.com/news
    /davita-healthcare-cfo-resigns-after-settlements-sting-dialysis-provider.



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    assistance to “some patients who do not qualify for Medicaid” was materially false and

    misleading as the truth was exactly the opposite. In reality, DaVita was intentionally “steering”

    all of its ESRD patients to AKF-backed insurance programs, including those who qualified for,

    or were currently enrolled in, Medicaid. Additionally, DaVita’s support to the AKF was not

    mere “voluntary contributions.” Rather, DaVita engaged in a “coordinated effort,” an established

    “quid pro quo,” enabling DaVita to fund commercial insurance premiums for its own dialysis

    patients, thereby violating CMS regulations and anti-kickback laws.

           B.      DaVita’s Code of Conduct

           159.    DaVita’s Code of Conduct was described in DaVita’s annual filings on Form 10-

    K and posted and published on the Company’s website. During the Class Period, the Code of

    Conduct falsely stated that the Company “[does] not participate in charitable activities or

    make charitable contributions to improperly induce referrals, to illegally gain an unfair

    business advantage, or in violation of the law.” The Code of Conduct further stated that “DaVita

    may make a charitable contribution, if it is not given in order to induce or receive patient

    referrals or gain an unfair business advantage, and you obtain appropriate approvals in

    accordance with local policies.”12

           160.    Defendants’ statements in paragraph 159 above that DaVita did not make

    charitable contributions to “illegally gain an unfair business advantage, or in violation of the

    law,” was materially false and misleading. Indeed, that is exactly what Defendants sought to

    accomplish through their steering scheme: an unfair, illegal and unethical business advantage.

    Moreover, DaVita’s purported “voluntary” contributions to the AKF were provided for a


    12
         See https://www.davita.com/UploadedFiles/About_v4/Corporate_Governance/Code_of_
    Conduct/CodeOfConduct_English_Interactive.pdf



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    singular purpose: so that the AKF would, in turn, pay the Company’s ESRD patients’

    commercial premiums for them, thereby enabling DaVita to obtain exponentially higher

    reimbursements for its dialysis services.

           C.      Statements Regarding 2015 Second Quarter Earnings

           161.    On August 4, 2015, DaVita filed with the SEC its Form 10-Q for second quarter

    of 2015 (“Q2 2015 Form 10-Q”), which was signed and certified by Defendants Hilger and

    Thiry. The Q2 2015 Form 10-Q stated that the Company’s strong financial performance was

    “mostly due to an increase of $129 million associated with the U.S. dialysis and related lab

    services’ net revenues,” which was “driven by improvements in our commercial payor mix.”

           162.    Also on August 4, 2015, DaVita held a conference call with analysts and investors

    to discuss the Company’s Q2 2015 financial results. During the call, Defendant Thiry stated that

    “the biggest good news is that our commercial mix and our rates, both went up a bit.”

    Elaborating on the importance of the Company’s commercial mix number, Thiry stated: “The

    commercial mix number is particularly significant in that it shows that up to this point at least,

    exchanges are not hurting us as we continue to hold our commercial prices constant for this

    commercial segment in our mind.” Defendant Hilger also highlighted the growth in “improved

    revenue per treatment due to improved commercial mix.”

           163.    The statements in paragraphs 161-162 above were false and misleading, and

    omitted material facts when made. Specifically, DaVita’s statements regarding its improved

    commercial mix metric were materially false and misleading because this improvement was not

    driven by the availability of exchange plans to ESRD patients as a result of the ACA. Instead,

    DaVita’s commercial mix was materially bolstered by Defendants’ illegal steering scheme aimed

    at convincing all patients enrolled in Medicare and Medicaid to enroll in commercial insurance




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    plans, with the Company paying the premiums for those plans by illicitly funneling funds

    through the AKF. Moreover, Defendant Thiry’s statement that exchanges were not “hurting”

    DaVita’s commercial mix number was materially false and misleading, and omitted material

    facts when made, because Defendants were in fact exploiting the ACA individual market

    exchanges, steering patients to commercial insurance as it now became available to ESRD

    patients who had previously been disqualified.

           D.     Statements Regarding Third Quarter 2015 Earnings

           164.   On November 4, 2015, the Company filed with the SEC its Form 10-Q for third

    quarter of 2015 (“Q3 2015 Form 10-Q”), which was signed and certified by Defendants Hilger

    and Thiry. In disclosing the Company’s financial results, DaVita attributed its net revenues

    increase of approximately $274 million or 8.4%, and increase in adjusted consolidated operating

    income of approximately $54 million or 11.9%, to “an increase in dialysis revenue per treatment

    of approximately $7” with the increase in average dialysis revenue per treatment primarily due to

    “improvements in [DaVita’s] commercial payor mix.”

           165.   DaVita’s statements in paragraph 164 above regarding the supposed

    “improvements” in its key commercial mix metric were materially false and misleading. Indeed,

    these results and metrics were artificially bolstered as a direct result of DaVita’s fraudulent

    scheme to illegally steer all of its ESRD patients—including those eligible for, and already

    insured by, Medicare and Medicaid—to enroll in commercial insurance plans, with the Company

    paying the premiums by illicitly funneling funds through the AKF.         The improvements in

    commercial mix cited purportedly supporting the Company’s increased revenues was therefore

    artificially manufactured by Defendants’ widespread unlawful conduct.




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           E.      Statements Regarding Fourth Quarter 2015 and Full Year 2015 Earnings

           166.    On February 11, 2016, DaVita issued a press release announcing its financial

    results for the fourth quarter 2015 and full year 2015. The Company reported strong results in its

    key metrics for the full year 2015, with adjusted net income of $828 million, or $3.83 per share,

    and consolidated net revenue of $13.78 billion.        Moreover, DaVita reported U.S. dialysis

    segment net revenue of $8.642 billion, an increase of approximately 5.3% and an increase in

    revenue per treatment of 1.6% to $347.64 on a year-over-year basis. Also on February 11, 2016,

    DaVita held a conference call with analysts and investors whereby Defendant Thiry praised

    Kidney Care’s “once again, strong quarter, strong year,” adding that Defendants “anticipate[d] in

    2016 another solid year, $1.625 billion to $1.725 billion.”

           167.    On February 26, 2016, the Company filed its Form 10-K with the SEC for the

    year ended December 31, 2015 (“2015 Form 10-K”), which was signed and certified by

    Defendants Thiry and Hilger. In addition to reiterating DaVita’s previously reported financial

    results, the 2015 Form 10-K stated that the Company’s “financial performance was once again

    strong for 2015,” with growth coming from “payor mix improvements in our dialysis business.”

    The 2015 Form 10-K also stated that the Company’s increase in consolidated net revenues was

    attributable to “an increase of $6 in the average dialysis revenue per treatment,” primarily from

    “improvement in [DaVita’s] commercial payor mix.”

           168.    Significantly, the 2015 Form 10-K noted that, for the first time in several years,

    the Company’s growth of commercial patients outpaced the growth of government-based

    patients, demonstrating that Defendants’ steering campaign was succeeding:

           Prior to 2015, we had experienced growth in our government-based patients that
           had been outpacing the growth in our commercial patients which had negatively
           impacted our average dialysis and related lab services revenue per treatment since
           we receive higher reimbursement rates from our commercial payors. However, in



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           2015, for the first time in several years, the growth of our commercial patients
           slightly outpaced the growth of our government-based patients as more of our
           patients are covered by commercial contracted plans.

           169.    DaVita’s statements in paragraph 166-168 above regarding the supposed

    “improvements” in its key commercial mix metric were materially false and misleading. In

    reality, these improvements were the product of Defendants’ illegal steering campaign, which

    resulted in DaVita’s sudden turnaround in its commercial mix metric and growth in government

    patients “for the first time in several years.” The improvements in commercial mix cited, which

    purportedly supported the Company’s increased financial results, were therefore artificially

    manufactured by Defendants’ widespread unlawful conduct.

           170.    With regards to the AKF, the 2015 Form 10-K once again affirmatively misstated

    the scope of DaVita’s reliance on and relationship with the AKF, asserting only that patients who

    did not qualify for Medicaid or Medicare were eligible for AKF assistance. Indeed, the 2015

    Form 10-K again falsely stated that only “some patients who do not qualify for Medicaid” and

    “cannot afford secondary insurance” were receiving AKF assistance, and that DaVita’s

    “voluntary contributions” were charitable in nature:

           Some patients who do not qualify for Medicaid, but otherwise cannot afford
           secondary insurance, can apply for premium payment assistance from charitable
           organizations through a program offered by the American Kidney Fund. We and
           other dialysis providers support the American Kidney Fund and similar programs
           through voluntary contributions.”

           171.    The 2015 Form 10-K also specifically represented, for the first time, that the AKF

    also provided commercial premium assistance only for patients who were not eligible for

    Medicare – i.e., those who were commercially insured “before” Medicare became their primary

    payor for dialysis. Moreover the Company falsely represented to investors that it was only this

    small subset of commercial patients who accounted for “nearly all of our profits.”




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           Before a patient becomes eligible to have Medicare as their primary payor for
           dialysis services, a patient’s commercial insurance plan, if any, is responsible for
           payment of such dialysis services for the first 33 months, as discussed above.
           Although commercial payment rates vary, average commercial payment rates
           established under commercial contracts are generally significantly higher than
           Medicare rates. The payments we receive from commercial payors generate
           nearly all of our profits . . . Patients with commercial insurance who cannot
           otherwise maintain coverage frequently rely on financial assistance from
           charitable organizations, such as the American Kidney Fund. If these patients are
           unable to obtain or continue to receive such financial assistance, our revenues,
           earnings, and cash flow could be substantially reduced.

           172.    The statements in paragraphs 170-171 above were materially false and

    misleading, and omitted material facts when made. Specifically, the statements set forth above

    limiting the AKF’s assistance to “some patients who do not qualify for Medicaid,” or to those

    patients who had not yet become eligible for Medicare, were materially false and misleading as

    the truth was exactly the opposite. In reality, DaVita was intentionally “steering” all of its ESRD

    patients to AKF-backed insurance programs, including those who qualified for, or were currently

    enrolled in, Medicaid and Medicare. In addition, the Company’s statement that “nearly all of our

    profits” were attributable to commercial patients before they were eligible for Medicare was

    materially false. Indeed, as would be revealed by the end of the Class Period, more than 75% of

    the Company’s profits was directly attributable to ESRD patients who were eligible for Medicare

    and Medicaid, but had been steered by the Company to commercial plans using AKF assistance.

    Additionally, DaVita’s support to the AKF was not mere “voluntary contributions.” Rather,

    DaVita engaged in a “coordinated effort,” an established “quid pro quo,” enabling DaVita to

    fund commercial insurance premiums for its own dialysis patients, thereby violating CMS

    regulations and anti-kickback laws.

           F.      Statements Regarding First Quarter 2016 Earnings

           173.    On May 4, 2016, the Company filed with the SEC its Form 10-Q for first quarter

    of 2016 (“Q1 2016 Form 10-Q”), which was signed and certified by Defendants Hilger and


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    Thiry. Among other things, the Q1 2016 Form 10-Q touted that the Company’s increase in

    consolidated net revenues of approximately $293 million, or 8.9% compared to the same period

    in 2015, was attributable to “an increase in [DaVita’s] average dialysis revenue per treatment of

    approximately $5,” due to “improvements in [DaVita’s] commercial payor mix.”

           174.    DaVita’s statements in paragraph 173 above regarding the supposed

    “improvements” in its key commercial mix metric were materially false and misleading. Indeed,

    these results and metrics were artificially bolstered as a direct result of DaVita’s fraudulent

    scheme to illegally steer all of its ESRD patients—including those eligible for, and already

    insured by, Medicare and Medicaid—to enroll in commercial insurance plans, with the Company

    paying the premiums by illicitly funneling funds through the AKF.          The improvements in

    commercial mix cited purportedly supporting the Company’s increased revenues were therefore

    artificially manufactured by Defendants’ unlawful conduct.

           175.    Also on May 4, 2016, DaVita held a conference call with analysts and investors to

    discuss the Company’s Q1 2016 financial results. During the earnings call, analysts specifically

    inquired as to the cause of DaVita’s increase in its commercial mix:

           <Q - Gary P. Taylor>: …Did you make a comment about commercial mix of
           patients, which I think was – actually grew year-over-year in 2015 for, I think, the
           first time in some time, so 1Q of 2016, did that change?

           <A - James K. Hilger>: It did grow in 2015 for the first time in a long time, and
           so we’re pretty pleased with where we are at. I think we disclosed in the 10-K a
           12% mix. We're rounding up to 12%.

                                                  ***

           <Q - Gary P. Taylor>: Okay. So the commercial mix continued to improve year-
           over-year in 1Q of 2016 or has that leveled out?

           <A - Vijay Kotte>: We continued to improve in the quarter.

           <Q - Gary P. Taylor>: And is most of that – is that improvement being driven by
           exchanges or...?


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           <A - Vijay Kotte>: That is a portion of the improvement. The improvement we’ve
           seen over a multiple-quarter period is in part due to exchanges and in part due to
           improving economy and in some cases it’s difficult to discern which is where. We
           know where the exchanges are but there also is some cannibalization.

           176.   Defendants’ statements in paragraph 175 above regarding DaVita’s key

    commercial mix metric were materially false and misleading, as this growth was not driven “due

    to exchanges” now available to ESRD patients as a result of the ACA, or an “improving

    economy.” DaVita’s sudden turnaround in its commercial mix metric and growth in government

    patients “in 2015 for the first time in a long time,” was, instead, a direct result of DaVita’s

    fraudulent scheme to illegally steer all of its ESRD patients—including those eligible for, and

    already insured by, Medicare and Medicaid—to enroll in commercial insurance plans, with the

    Company paying the premiums by illicitly funneling funds through the AKF.

           177.   The importance of Defendants’ fabricated positive core dialysis segment

    financials, including the increase in the number of commercial patients, was underscored by

    analysts’ reaction. For example, SunTrust stated in its May 5, 2016 report that “continued

    strength in Kidney Care (volumes, mix, international expansion) is encouraging…We were

    encouraged by Kidney Care momentum, improving payor mix, strength in cash flow and see an

    upward bias to the guidance.” Additionally, KeyBanc noted in its May 4, 2016 report that it was

    “raising our estimates at DVA following better than expected 1Q results driven by (as usual)

    strong Kidney Care Performance.”

           G.     Statements Regarding 2016 Second Quarter Earnings

           178.   On August 8, 2016, the Company filed with the SEC its Form 10-Q for the second

    quarter of 2016 (“Q2 2016 Form 10-Q”), which was signed and certified by Defendants Hilger

    and Thiry. Among other things, the Q2 2016 Form 10-Q stated that the Company’s increase in

    consolidated net revenues of approximately $283 million, or 8.2% as compared to the second



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    quarter of 2015, was a result of “an increase in our average dialysis revenue per treatment of

    approximately $3” due to “improvements in [DaVita’s] commercial payor mix.”

           179.   DaVita’s statements in paragraph 178 above regarding the supposed

    “improvements” in its key commercial mix metric were materially false and misleading. Indeed,

    these results and metrics were artificially bolstered as a direct result of DaVita’s fraudulent

    scheme to illegally steer all of its ESRD patients—including those eligible for, and already

    insured by, Medicare and Medicaid—to enroll in commercial insurance plans, with the Company

    paying the premiums by illicitly funneling funds through the AKF.        The improvements in

    commercial mix cited purportedly supporting the Company’s increased revenues were therefore

    artificially manufactured by Defendants’ widespread unlawful conduct.

           180.   Further, on August 8, 2016, DaVita held its Q2 2016 earnings call where the

    Company reported “solid adjusted operating income and strong cash flows” for the quarter,

    driven by Kidney Care. In addition to Defendants touting the Company’s artificially strong

    Kidney Care results, this call was the first time during the Class Period that Defendants were

    directly confronted about DaVita’s relationship with the AKF. These inquiries were prompted

    by a lawsuit filed by UnitedHealth on July 1, 2016 against American Renal Associates, another

    large dialysis company, alleging that it was engaged in the exact scheme DaVita had been

    perpetrating for over a year: using the AKF to pay its ESRD patients’ commercial premiums for

    them so it could obtain much higher reimbursements. Accordingly, on the Company’s Q2 2016

    earnings call, analysts focused on DaVita’s own relationship with the AKF.

           181.   During the call, in response to analyst questioning, Defendant Rodriguez falsely

    claimed that the Company strictly adhered to an advisory opinion issued by the OIG twenty

    years ago in 1997, which allowed contributions from DaVita to the AKF for charitable premium




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    assistance under certain circumstances.     Rodriguez also claimed that DaVita was merely

    “donating” altruistically to the AKF:

           In Kidney Care, we have been donating and so have all other providers to help
           patients with end-stage renal disease for decades in order to be assisted with their
           premium. The OIG has reviewed that framework more than once and actually just
           did it over a year ago or so. And so, that framework has been vetted and, of
           course, we have to make sure that we all stay and abide by the rules that were
           outlined by the OIG. Did I get to what you’re going to?”

           182.    The statements in paragraphs 180-181 above were materially false and

    misleading, and omitted material facts when made. First, while DaVita had been donating to the

    AKF for decades, it had materially increased those contributions in recent years to fund the

    Company’s illicit steering scheme, so the Company could collect hundreds of millions of dollars

    in additional profits in commercial insurance reimbursements per year.

           183.    Second, while the OIG had recently reviewed other requests for advisory opinions

    regarding charitable assistance for patients in recent years for entirely different programs—and

    specifically, charitable assistance for Medicare Part D costs (i.e., a government funded

    prescription drug program)—the OIG had not reviewed the 1997 opinion DaVita was relying on

    to legitimize its donations to the AKF, nor had the OIG determined that DaVita and the AKF’s

    arrangement remained in compliance with the 1997 OIG opinion. Indeed, the 1997 OIG opinion

    was issued long before the ACA went into effect in 2014, and expressly applied only to the

    AKF’s charitable assistance for Medicare and Medigap premiums – i.e., government programs,

    not charitable premium assistance for commercial plans. Additionally, at the time the opinion

    was issued, the AKF was receiving only $5 million in donations annually, less than 10% of

    which were attributable to dialysis companies. In 2015, the AKF reported over $260 million in

    donations, 80% of which came directly from DaVita and Fresenius.




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           184.    Finally, while Defendant Rodriguez claimed DaVita would “make sure that we all

    stay and abide by the rules that were outlined by the OIG,” DaVita was not doing so. The 1997

    OIG opinion specifically provided multiple safeguards to ensure that the arrangement between

    DaVita and the AKF did not violate federal anti-kickback laws, requiring that (i) DaVita did not

    “advertise the availability of possible financial assistance to the public”; (ii) DaVita’s

    contributions “w[ould] not be earmarked for the use of particular beneficiaries or groups of

    beneficiaries”; (iii) DaVita would not “track the amount that AKF pays on behalf of patients

    dialyzing at [its] facilities in order to calculate future contributions”; (iv) the AKF would have

    “absolute discretion” regarding the use of any donated funds; (v) DaVita’s contributions would

    be “gifts without any guarantee or promise on the part of the AKF that patients referred to the

    AKF for possible financial assistance with their insurance premiums will receive such

    assistance”; and (vi) that the AKF would not “take the identity of the referring facility into

    account in providing assistance to ESRD patients.”

           185.    DaVita’s scheme violated the 1997 OIG opinion in all respects. First, DaVita

    advertised the availability of AKF assistance directly to all prospective ESRD patients in its

    “Kidney Smart” classes.    See, e.g., ¶¶65, 73-75. Second, DaVita’s contributions to the AKF

    were “earmarked” for payments of its patients’ premiums, as part of its quid pro quo relationship

    with the AKF. See, e.g., ¶¶6, 14, 134-135. Third, DaVita meticulously tracked the AKF’s

    payments of its patients’ commercial premiums, and directly based its contributions on those

    amounts. See, e.g., ¶¶88-89, 112, 135. Fourth, the AKF did not have “absolute discretion”

    regarding the use of DaVita’s “donations,” but was completely beholden to the Company due its

    heavy reliance on the Company for its funding. See, e.g., ¶¶51, 114. Fifth, DaVita’s donations

    to the AKF were not “gifts,” but an express quid pro quo in exchange for which the AKF paid its




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    ESRD patients’ commercial premiums. See, e.g., ¶¶14, 114-115, 134-135. Sixth, the AKF

    absolutely took “the identity of the referring facility into account” in providing premium

    assistance, as it provided that assistance to DaVita’s patients in direct recognition of, and in

    proportion to, the Company’s “donations.” See, e.g., ¶¶6, 14, 93, 95, 134-135.

           186.    Indeed, DaVita’s use of its own funds to pay its patients’ premiums by illicitly

    funneling them through the AKF—and its use of AKF assistance for “superior” commercial

    plans to entice vulnerable ESRD patients to utilize its clinics—was in direct contravention of the

    1997 OIG opinion.

           H.      DaVita’s Response to the CMS RFI

           187.    On August 18, 2016, CMS announced a formal Request For Information

    regarding allegations that dialysis companies, including DaVita, had been steering ESRD

    patients into commercial plans for the sole purpose of collecting higher insurance

    reimbursements—i.e., DaVita’s exact scheme. The RFI reiterated: “It is improper to influence

    people away from Medicare or Medicaid coverage for the purpose of financial gain,” as it would

    violate both the Social Security Act and federal anti-kickback laws.

           188.    In response to the RFI, J.P. Morgan issued a report discussing its “heightened”

    concerns regarding the impact that AKF assistance payments would have on DaVita, noting that

    “exchange health plans may reject the majority of American Kidney Fund (AKF) dialysis third

    party premium assistance payments during 2017 open enrollment,” which “threatens at least 1%

    of DVA’s patient mix (10-15% of EPS).” The report emphasized that “the issue is whether

    providers and financially interested third parties can pay the premiums for ESRD patients in

    order to benefit from higher commercial reimbursement rates.” The report went on to highlight

    the CMS concern over DaVita’s abuse of the healthcare system:




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           CMS has previously cautioned that such assistance could drive adverse selection
           and negatively impact the exchange risk pool . . . Following DVA’s 2Q16 call we
           wrote “management did not do a great job of explaining the primary recent
           investor concern regarding the sustainability of the AKF patient subsidy
           program”. Follow up conversations with DVA heightened our concerns . . . .
           Today, we are lowering our forward earnings estimates for DVA and reducing our
           2017YE PT from $75 to $65.

           189.    On September 22, 2016, DaVita submitted its response to the RFI, egregiously

    denying the truth of its relationship with the AKF and the effect that that had on its patients. In

    its response, Defendants made numerous false claims, including that DaVita “does not steer

    patients towards any particular insurance option or plan”:

           DaVita does not steer patients towards any particular insurance option or plan.
           DaVita educates its patients so that they are able to make informed decisions that
           are in their best interest. Moreover, DaVita does not pay patients’ health
           insurance premiums. Charitable assistance provided to end stage renal disease
           (ESRD) patients by the American Kidney Fund’s (AKF) Health Insurance
           Premium Program (HIPP) is sufficiently separate from provider contributions to
           the AKF . . .

           190.    The statements in paragraph 189 above were materially false and misleading, and

    omitted material facts when made. First, DaVita’s statement that it “does not steer patients

    towards any particular insurance option or plan,” was patently false and misleading as DaVita

    employees nationwide confirmed that the reality was the exact opposite. See e.g. ¶¶8-9, 53-103,

    107-16, 118-21. In truth, DaVita’s steering of ESRD patients was its key business strategy,

    which has been confirmed by a plethora of confidential witness accounts, internal Company

    documents, testimonials in response to the CMS RFI, and other independent analyses. See e.g.

    ¶93 (CW 1: “We weren’t educators. We were revenue generators,” explaining that “it was more

    about profit than patients” at DaVita); ¶¶56-89 (emails and presentations discussing DaVita’s

    steering initiatives); ¶¶77-80, 84, 103 (spreadsheets that included detailed information tracking

    patients’ commercial insurance and reimbursement rates); ¶¶107-16 (RFI public comments

    focused on DaVita’s systemic steering).


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           191.    Second, DaVita did pay its ESRD “patients’ health insurance premiums,” by

    illicitly funneling funds through the AKF as there was no meaningful “separation” at all between

    DaVita and the AKF. In reality, DaVita’s “contributions” to the AKF were effectively a “quid

    pro quo” arrangement meant to skirt regulations prohibiting the Company from directly paying

    for its patients’ commercial insurance premiums.

           192.    Further, in DaVita’s September 22, 2016 RFI response, the Company claimed that

    it “educated” patients by providing “balanced” information, and that its “interdisciplinary team”

    had “no outcome incentives” and “no knowledge of specific contract terms or rate agreements

    between DaVita and the commercial payors”:

           If a patient has multiple insurance options, DaVita seeks to ensure the patient
           receives balanced, comprehensive information presented in a straightforward way
           to enhance the patient’s understanding, including the short and long-term
           implications of each option . . . To help ensure an unbiased presentation of
           information to the patients, the DaVita interdisciplinary team has no outcome
           incentives. In addition, the team does not have knowledge of specific terms or
           rate agreements between DaVita and the commercial payors.

           193.    The statements in paragraph 192 above were materially false and misleading, and

    omitted material facts when made. First, DaVita did not present “balanced” information to

    patients, nor meaningfully inform them of the “short and long-term implications” of the patient

    choosing private insurance funded by the AKF. DaVita instead pushed private plans with AKF

    assistance on its vulnerable ESRD patients, neglecting to mention the serious implications of that

    choice—and most critically, the significant obstacles patients would face in obtaining a life-

    saving kidney transplant. See e.g., ¶¶37-41, 73-75, 108-09, 111.

           194.    Second, as Plaintiffs’ confidential witness accounts and review of internal

    Company documents show, DaVita specifically trained its employees to have knowledge of

    commercial reimbursement rates versus Medicare or Medicaid reimbursement rates. See e.g.

    ¶¶77-80, 81-89, 103, 118 (“Medicaid Opportunity” training sessions specifically detailing the


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    higher reimbursement rates from commercial insurance; spreadsheets that included detailed

    information tracking patients’ commercial insurance and reimbursement rates).              DaVita’s

    employees therefore had full knowledge of rate agreements between DaVita and the commercial

    payors.

              195.   Third, DaVita also provided significant “outcome incentives” for patient steering,

    as internal Company documents demonstrate that DaVita rolled out formal incentive programs

    that offered lucrative monetary bonuses to employees who contributed to the most “private pay”

    growth—i.e., steered the most patients into commercial plans—and for employees who used

    Kidney Smart meetings to “educate” (i.e., steer) the most patients to “choose” private insurance.

    See e.g. ¶¶62-67.

              196.   On October 26, 2016, J.P. Morgan released a follow-up note to its August 19,

    2016 note lowering estimates and its price target. The J.P. Morgan report stressed potential legal

    consequences to DaVita, that it was engaged in behavior that was “unlawful,” and in justifying

    its misconduct, DaVita was remarkably taking the complete opposite view of its regulator:

              The August 18, 2016 RFI from CMS explicitly states “it is unlawful to enroll an
              individual in individual market coverage if they are known to be entitled to
              benefits under Medicare Part A, enrolled in Medicare Part B, or receiving
              Medicaid benefits”. In its RFI response, DVA takes the complete opposite view
              of its regulator, stating “Contrary to the letter written to dialysis facilities in
              connection with the RFI, Medicaid patients have the right under the current
              regulations to enroll in an individual market plan.” This may be an implicit
              acknowledgement that DVA has played a role in enrolling such patients into HIX
              plans. Further, numerous RFI comments and a recent news article suggest DVA
              “educated” not just MDCD-eligibles, but current MDCD enrollees.

              I.     October 31, 2016 DaVita Press Release

              197.   On October 31, 2016, DaVita issued a press release announcing that it was

    suspending support for applications to the AKF for charitable premium assistance by patients

    enrolled in minimum essential Medicaid coverage, effective immediately. This policy change



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    constituted a tacit acknowledgment that the Company’s practices ran afoul of CMS regulations

    and constituted unlawful steering.

           198.    Furthermore, in the October 31, 2016 press release, DaVita continued to mislead

    the public regarding its steering practices, attempting to significantly downplay the impact of this

    dramatic change in its key business strategy. First, DaVita claimed that this suspension applied

    to ESRD Medicaid patients seeking “additional” coverage from an ACA plan (implying

    Medicaid was primary and the ACA plan was secondary). Second, as it had before, DaVita

    stated it was merely providing “education to its patients,” not steering them. Third, DaVita

    claimed that these patients “were seeking – and often obtained – access to services beyond

    dialysis.” Fourth, DaVita asserted the affected patients were a “small number”—2,000, “or

    about one percent of DaVita’s total patient population, who have pre-existing minimum essential

    Medicaid coverage and obtained additional coverage through ACA plans.” With regard to the

    “financial impact” of this development, DaVita estimated it would be “up to approximately $140

    million before any offsets”—and an additional $90 million if all of the Company’s ESRD

    patients receiving AKF assistance for ACA plans were affected.

           199.    The statements in paragraphs 197-198 above were materially false and

    misleading, and omitted material facts when made. First, these patients were not patients who

    had existing Medicaid insurance and obtained “additional coverage through ACA plans.” They

    were, instead, patients who had Medicaid as their primary insurer, who then were steered by

    DaVita to switch to an ACA plan as their primary insurer (with Medicaid becoming secondary).

           200.    Second, the notion that DaVita was “educating” its patients is a farce: the

    Company’s primary business strategy was to steer all of its patients, as a multitude of internal

    documents and former employee accounts had confirmed.




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           201.    Third, these patients were not “seeking” private insurance for the benefits DaVita

    listed. DaVita instead foisted private insurance upon them, and used claims of benefits—most of

    them false—to pressure patients to forego government benefits.

           202.    Fourth, the Company’s estimation that the financial impact was “up to

    approximately $140 million before offsets,” further misleadingly downplayed the issue,

    suggesting the financial impact could be less, and “offset” by other unnamed factors.

           203.    Finally, DaVita’s claim that this change in policy affected only 1% of its total

    patient population distorted the Company’s true financial picture. In fact, those 2,000 patients

    comprised nearly ten percent of DaVita’s commercial patient population.            Indeed, when

    measured against the Company’s profits, the potential $140 million impact was highly material,

    comprising 16% of the Company’s $880 million in profits that year. The percentage was even

    higher when including the additional $90 million impact for the 1,500 non-Medicaid patients

    receiving AKF assistance for ACA plans, amounting to a total impact of $230 million, or nearly

    30% of the Company’s 2016 profits.

           204.    Notably, J.P. Morgan’s October 31, 2016 report, “DVA Sizes a Portion of AKF

    Exposure,” noted that DaVita was minimizing the effect on its financial results, and significantly

    highlighted that absent the fraudulently-inflated financial results, the Company’s operating

    income growth would have been negative in the prior two years:

           DVA raises questions by sizing a smaller potential financial impact from these
           patients ($230m, 12% of trailing operating income, 15% of trailing earnings) than
           we have estimated (note we had previously reduced our 2017 EPS by 20%) . . .
           However, the disclosure does suggest that dialysis operating income growth was
           negative in 2014 and 2015 excluding the benefit of shifting these patients into
           ACA plans.




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           J.      Statements Regarding 2016 Third Quarter Earnings

           205.    On November 2, 2016, the Company filed with the SEC its Form 10-Q for third

    quarter of 2016 (“Q3 2016 Form 10-Q”), which was signed and certified by Defendants Hilger

    and Thiry. Among other things, the Q3 2016 Form 10-Q highlighted that the Company’s

    increase in consolidated net revenues increase of approximately $205 million, or 5.8%, was a

    result of “an increase in our average dialysis revenue per treatment of approximately $5,” due to

    “improvements in [DaVita’s] commercial payor mix.”

           206.    DaVita’s   statements   in   paragraph   205    above regarding its      supposed

    “improvements” in its key commercial mix metric were materially false and misleading. In

    reality, this improvement was a direct result of DaVita’s fraudulent scheme to illegally steer its

    ESRD patients—including those eligible for, and already insured by, Medicare and Medicaid—

    to enroll in commercial insurance plans, with the Company paying the premiums by illicitly

    funneling funds through the AKF. The improvements in commercial mix cited purportedly

    supporting the Company’s increased revenues were therefore artificially manufactured by

    Defendants’ widespread unlawful conduct.

           207.    Also on November 2, 2016, DaVita held a conference call with analysts and

    investors to discuss the Company’s Q2 2015 financial results, the first call since DaVita’s

    October 31, 2016 press release. During the call, Defendant Rodriguez discussed the RFI and

    DaVita’s historical practices regarding the charitable premium assistance, falsely stating that

    DaVita’s “historical practices were legal and compliant.”

           208.    During the call, Defendant Thiry made several additional comments elaborating

    on Defendant Rodriguez’s comments, stating that Defendants “fulfilled our regulatory

    responsibility to provide comprehensive education to our patients” and that “a very small




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    percentage of our Medicaid patients determined that an ACA plan was better for them.” Thiry

    also claimed that because DaVita knew it would receive much higher rates for any patients that

    switched to a private plan, it had created a “very intense oversight process”:

            [W]e were very sensitive to the fact that some of these patients choosing an ACA
            plan meant that we would be paid higher rates – commercial rates versus
            Medicaid rates. And, therefore, we created a very intense oversight process to
            make sure that we did everything possible to live up to the CMS standards around
            objective presentation of information and absolutely letting the patient choose.

            209.   Also during the Q and A session, analysts directly confronted Defendant Thiry

    regarding the percentage of the Company’s commercial patients that receive premium assistance

    from the AKF. In response, Defendant Thiry stated that “disclosing that is not in your best

    interests.” In addition, analysts directly questioned the legality of the Company’s arrangement

    with the AKF, and noted that “there are some investors that believe that in fact it’s illegal for the

    Medicaid patients to have been given premium support.” In response, Defendant Thiry stated

    that “it’s very clearly legal, and have never run into a single objection from anyone.”

            210.   The statements in paragraphs 207-209 above were materially false and

    misleading, and omitted material facts when made. First, DaVita’s actions were not “clearly

    legal” and “compliant” —far from it. Indeed, by illicitly funneling funds through the AKF for

    the purpose of obtaining higher dialysis reimbursement rates, DaVita rampantly violated CMS

    regulations, the federal anti-kickback laws, as well as the OIG’s 1997 advisory opinion. See

    ¶¶184-186.     The Company also “steered” beneficiaries of Medicare and Medicaid into

    commercial insurance plans, which violated the “anti-duplication” provision of the federal Social

    Security Act (prohibiting the sale of commercial plans to recipients of government health

    benefits).

            211.   Second, Thiry’s statement that the Company did “everything possible” to present

    information about insurance options to its patients objectively was false and misleading as


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    DaVita did the exact opposite. It created a “very intensive oversight process” to pressure its

    employees, nationwide, to steer patients into commercial plans for the Company’s profit and at

    the patients’ expense.

           212.    Third, the “very small percentage” of commercial patients DaVita had lost was, in

    fact, highly significant. Indeed, analysts noted that without this “1%” of Medicaid patients who

    switched to commercial plans, the Company’s critical commercial mix metric had in fact been

    flat over the prior years. As one analyst noted: “I guess if we look at commercial mix and take

    out maybe this 1% that’s related to the ACA, it looks like mix has basically been flat over the

    last five years, maybe down a little bit, during a time when the economy is improving.”

           213.    Significantly, despite persistent questions from regulators, commercial insurers

    and investors concerning the Company’s relationship with the AKF, Defendant Thiry’s refusal to

    disclose or quantify the Company’s full exposure to that relationship speaks volumes.

           214.    RBC’s November 2, 2016 report was critical of the responses Defendants made

    during the call, stating that “[w]hile armed with various datapoints, DVA seemed less

    constructive toward repetitive questioning on the [AKF] issue.”

           215.    However, Defendants still were successful in concealing the full scope of the

    AKF steering fraud, as demonstrated in J.P. Morgan’s January 10, 2017 report:

           CEO Thiry spent a very sizable portion of the presentation discussing the recent
           controversy over “charitable patient assistance” (CPA) – what we refer to as the
           AKF issue. DVA and other industry participants have filed a lawsuit against CMS
           for the final rule prohibiting CPA for dialysis in the ACA marketplace, but did not
           mention the recently disclosed Massachusetts US Attorney subpoena of DVA and
           others. . . DVA downplayed the risk of CPA “contagion” to other parts of its
           business, while simultaneously describing their worst year of commercial rate
           pressure since 2007.




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           K.     Statements Regarding 2016 Fourth Quarter and Full Year Earnings

           216.   On February 16, 2017, DaVita announced its fourth quarter 2016 (“Q4 2016”) and

    full year 2016 (“FY 2016”) financial results. For FY 2016, DaVita reported adjusted net income

    of $789 million, or $3.85 per share, and consolidated net revenue of $14.74 billion. The

    Company reported U.S. dialysis segment net revenue of $9.138 billion and an increase in

    revenue per treatment of 1.2% to $351.64 on a year-over-year basis. Kidney Care’s operating

    income increased by approximately from 1.260 billion in FY 2015 to $1.777 billion for FY 2016.

           217.   On February 24, 2017, the Company filed its Form 10-K with the SEC for the

    year ended December 31, 2016 (“2016 Form 10-K”), which was signed and certified by

    Defendants Thiry and Hilger. The 2016 Form 10-K stated that consolidated net revenues for

    2016 increased by approximately $963 million, or 7.0%, from 2015 “due to an increase of $4 in

    the average dialysis revenue per treatment” caused by “improvements in [DaVita’s] commercial

    payor mix.”

           218.   DaVita’s statements in paragraph 217 above regarding supposed “improvements”

    in its key commercial mix metric were materially false and misleading.          Indeed, these

    improvements were a direct result of DaVita’s fraudulent scheme to illegally steer its ESRD

    patients—including those eligible for, and already insured by, Medicare and Medicaid—to enroll

    in commercial insurance plans, with the Company paying the premiums by illicitly funneling

    funds through the AKF. The improvements in commercial mix cited purportedly supporting the

    Company’s increased revenues was therefore artificially manufactured by Defendants’

    widespread unlawful conduct.

           219.   Further, and despite the Company’s October 31, 2016 press release stating

    otherwise, the 2016 Form 10-K again misrepresented the scope of the Company’s relationship




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    with the AKF, asserting that only patients who did not qualify for Medicaid or Medicare were

    eligible for AKF assistance. Indeed, the 2016 Form-10K again stated that only “some patients”

    who did “not qualify for Medicaid” used AKF assistance for secondary insurance:

           Some patients who do not qualify for Medicaid, but otherwise cannot afford
           secondary insurance, can apply for premium payment assistance from charitable
           organizations through a program offered by the American Kidney Fund. We and
           other dialysis providers support the American Kidney Fund and similar programs
           through voluntary contributions.”

           220.    The 2016 Form 10-K also again stated that the AKF provided commercial

    premium assistance only for patients who were not eligible for Medicare – i.e., those who were

    commercially insured “before” Medicare became their primary payor for dialysis. The Company

    also again falsely represented to investors that it was only this small subset of commercial

    patients who accounted for “nearly all of our profits.”

           Before a patient becomes eligible to have Medicare as their primary payor for
           dialysis services, a patient’s commercial insurance plan, if any, is responsible for
           payment of such dialysis services for the first 33 months, as discussed above.
           Although commercial payment rates vary, average commercial payment rates
           established under commercial contracts are generally significantly higher than
           Medicare rates. The payments we receive from commercial payors generate
           nearly all of our profits . . . Patients with commercial insurance who cannot
           otherwise maintain coverage frequently rely on financial assistance from
           charitable organizations, such as the American Kidney Fund. If these patients are
           unable to obtain or continue to receive such financial assistance, our revenues,
           earnings, and cash flow could be substantially reduced.

           221.    The statements in paragraphs 219-220 above were materially false and

    misleading, and omitted material facts when made. Specifically, the statements set forth above

    limiting the AKF’s assistance to “some patients who do not qualify for Medicaid,” or to those

    patients who had not yet become eligible for Medicare, were materially false and misleading as

    the truth was exactly the opposite. In reality, DaVita was intentionally “steering” all of its ESRD

    patients to AKF-backed insurance programs, including those who qualified for, or were currently

    enrolled in, Medicaid and Medicare. In addition, the Company’s statement that “nearly all of our


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    profits” were attributable to commercial patients before they were eligible for Medicare was

    materially false. Indeed, as would be revealed by the end of the Class Period, more than 75% of

    the Company’s profits was directly attributable to ESRD patients who were eligible for Medicare

    and Medicaid, but had been steered by the Company to commercial plans using AKF assistance.

    Additionally, DaVita’s support to the AKF was not mere “voluntary contributions.” Rather,

    DaVita engaged in a “coordinated effort,” an established “quid pro quo,” enabling DaVita to

    fund commercial insurance premiums for its own dialysis patients, thereby violating CMS

    regulations and anti-kickback laws.

           L.     2017 Capital Markets Day

           222.   DaVita held its 2017 Capital Markets Day in New York on May 25, 2017.

    During that conference, Defendants again refused to provide any information regarding the total

    percentage of its commercially insured patients receiving AKF assistance. Specifically, an

    analyst asked if Thiry could provide disclosure regarding “AKF funding of the commercial plans

    outside of the ACA?” Thiry again responded that “it would not be in your best interest for us to

    start providing all sorts of detail on that other chunk.” The analyst persisted, stating: “I was

    hoping maybe you could just confirm this. And the AKF has public disclosures. It seems that

    they are paying for 20,000 commercial members outside of the ACA. So if you just look at the

    market shares, it would seem that, that would be 40% to 50% of your commercial exposure. Are

    those numbers roughly right?” Thiry misleadingly demurred:

           Yes, I don’t know anything about the AKF numbers, and so I can’t comment on
           whatever they’re publishing. Sorry, I just don’t have any idea what numbers they
           put out or how they calculate them.

           223.   The statements in paragraph 222 above were false and misleading, and omitted

    material facts when made.     Specifically, Thiry knew full well the answer to the analyst’s

    question—i.e., the percentage of DaVita’s commercially insured patients receiving AKF


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    assistance. Indeed, in his prior public statements on the issue, he had admitted to “star[ing] at

    that [percentage] each quarter.” ¶132.

           224.    When Defendants’ fraud was finally revealed, the impact on DaVita’s financials

    was staggering. Specifically, on September 22, 2017, SIRF published a report on DaVita

    revealing that: “The Company’s finances, according to [SIRF’s] accounting analysis, appear to

    be massively levered to an opaque non-profit, the American Kidney Fund, that may provide up

    to half its operating profits.” On October 9, 2017, J.P. Morgan published a report downgrading

    DaVita’s stock because of the AKF’s “updated disclosures,” which concluded that “as much as

    60-80%+ of DVA’s earning power is derived from its AKF relationship.”

           225.    Finally, the next day, DaVita confirmed the analyses included in the SIRF and

    J.P. Morgan reports: an additional 5,800 patients relied on AKF payments for their commercial

    insurance premiums, and a total of $680 million of the Company’s earnings were reliant upon its

    illicit relationship with the AKF, or over 75% of DaVita’s $880 million in reported net income

    for 2016.

    VII.   ADDITIONAL ALLEGATIONS OF DEFENDANTS’ SCIENTER

           226.    As alleged above, numerous facts raise a strong inference that Defendants knew,

    or were severely reckless in disregarding, the true facts regarding DaVita’s widespread illicit

    practices. Specifically, Defendants were well aware that DaVita was illegally “steering” as

    many of its Medicaid and Medicare-eligible Kidney Care patients as it could into more lucrative

    commercial insurance plans, illicitly paying their premiums for them under the guise of

    “donations” to the AKF, in order to inflate the Company’s revenues. These facts include, in

    addition to the allegations set forth above, the following.




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           227.    Former employees confirm that the Company’s illicit practices were being

    directed by DaVita corporate management. Former employees corroborated the St. Louis Post-

    Dispatch article and numerous other media reports, stating that DaVita executive management

    was directly involved in the illicit admissions scheme. For example, a former DaVita Insurance

    Counselor in New York described how, in July 2015, he attended a regional meeting that

    featured a presentation on the “Medicaid Opportunity,” which was given by a Senior Vice

    President in DaVita’s Corporate Analytics Department. The focus of the presentation was to

    train DaVita employees on techniques to “sell” patients on ditching Medicaid as their primary

    insurer in favor of commercial insurance. CW 1 stated that during the presentation, the SVP

    showed the reimbursement rates for Medicaid ESRD patients versus the higher rates for

    commercially insured ESRD patients, as well as the number of patients in each region who were

    currently insured by Medicaid. The SVP instructed attendees to “get American Kidney Fund to

    pay for exchange plans, on top of Medicaid”—i.e., get Medicaid patients to enroll in a

    commercial plan as their primary insurer using AKF assistance (with Medicaid then becoming

    secondary).

           228.    A former DaVita Facilities Administrator CW 2—responsible for DaVita dialysis

    clinics located on the opposite coast, in California—recalled the same initiative being rolled out

    in her region during the same time period, on an August 2015 conference call with the Regional

    Operations Director. CW 2 stated that it was her impression that the Company had issued the

    “Medicaid Opportunity” directive on a “national level.” Similarly, CW 3, a former Insurance

    Counselor for multiple DaVita clinics in the Austin, Texas area, recalled participating in an 80-

    hour two-week training program at the Company’s headquarters in Denver about steering

    patients off of Medicaid and into commercial plans.




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           229.    Former employees also described that DaVita focused on “the bottom line” over

    the welfare of its patients, and that superiors were “motivated by money, not care.” A former

    Insurance Counselor at a different DaVita facilities in Oregon, CW 4, similarly stated: “[I]t was

    always about the bottom line [at DaVita]. It always came down to revenue.” Another former

    Insurance Counselor for DaVita facilities in New York CW 1 described his role as follows: “We

    weren’t educators. We were revenue generators.” CW 1 explained that “it was more about

    profit than patients” at DaVita.

           230.    Former employees were pressured to steer ESRD patients eligible for, or insured

    by, government programs to enroll in commercial plans as their primary insurer using AKF

    assistance—or, if they were already insured by commercial plans, to use AKF assistance to

    maintain that insurance at all costs. For example, CW 2 described that after the “Medicaid

    Opportunity” was rolled out in her region, if employees did not comply with the steering

    initiative, it would be a “problem” for their job. CW 1 described similar pressure, stating that

    “losing” private pay patients would lead to poor performance evaluations, and that a big part of

    an employee’s rating at the Company was “your ability to keep people on the commercial plans

    at the higher revenue.” CW 1 also stated that employees at DaVita “were machines” who had to

    “do everything [DaVita] said without question,” stating: “If I questioned things, I was told to

    shut up.” Other former employees described how the constant pressure the Company put on

    them to steer patients, or to keep their private pay numbers up, was a significant factor in their

    decision to no longer work for DaVita.

           231.    Former DaVita employees also described how obtaining “private pay” patients,

    and patient steering, was key to their job performance at DaVita. Aside from being punished or

    reprimanded for “losing” commercial patients or failing to successfully get government-insured




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    patients to enroll in a commercial plan, DaVita also offered numerous lucrative incentives to

    employees for increasing the Company’s “private pay” count. For example, CW 4 described

    how pay raises and bonuses at DaVita were directly tied to progress each employee made in

    gaining private coverage for eligible patients. “They based everyone on performance depending

    on if you had a lot of commercial patients,” she recalled. CW 3 also recalled that her regional

    managers stood to get a bonus, on a monthly or quarterly basis, for having the highest number of

    patients with better-paying private insurance. “The regions got kudos for having the most

    payers,” she said.

           232.    As these former employee accounts show, DaVita management was directly and

    intensely involved in tracking “private pay” patients, which were critical to the Company’s

    profits, including “private pay” patients that were steered away from Medicaid or Medicare and

    into far more lucrative commercial plans with AKF assistance (i.e., the Company’s own funds)

    and placing pressure on DaVita employees to facilitate Defendants’ steering scheme.

           233.    Internal DaVita documents also confirm that the Company’s illicit practices were

    being directed by DaVita corporate management. Plaintiffs’ investigation included the review

    of thousands of remarkable internal Company documents. These documents confirm that DaVita

    intentionally and illegally “steered” as many ESRD patients as it could, including those eligible

    for and already receiving Medicare or Medicaid benefits, into commercial plans by offering to

    pay their premiums for them through the AKF.          The documents further confirm that the

    Individual Defendants meticulously tracked several financial and operational metrics that

    directly demonstrated the Company’s progress in steering patients towards AKF-backed

    insurance plans.




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           234.    For example, an internal DaVita presentation entitled “Medicaid Opportunity

    Update,” dated November 2015, which was widely circulated by DaVita’s upper management to

    DaVita’s Facilities Administrators, included guidance on “Patient Outreach” for the “Medicaid

    Opportunity” directive, instructing, among other things, that employees were to “[s]upport AKF

    application[s] for all enrolled patients” and “[p]rovide ongoing support to new PP [Private Pay]

    Patients.” The presentation also included a list tallying AKF applications submitted for DaVita

    patients, as well as a “Plan of Action” that meticulously broke down the different roles for

    DaVita employees in each dialysis facility.

           235.    Moreover, a presentation entitled “Kidney Smart CKD [Chronic Kidney Disease]

    Patient Education Program Overview,” included a slide about how to talk about insurance

    options to patients. The presentations provided several key talking points specifically designed

    to sway patients away from Medicare or Medicaid, and towards AKF-backed plan options,

    including false or faulty claims about superior access to kidney transplants, as well as “better

    access” to specialists, “more comprehensive” coverage options, and “lower total cost” of care.

           236.    Plaintiffs’ review of internal documents confirms that DaVita closely tracked its

    “Private Pay” patients, in addition to patients who were not commercially insured and could be

    “educated.”    See ¶¶55-61. Plaintiffs’ investigation also located large internal Company

    spreadsheets regularly tracking patients’ commercial insurance and reimbursement rates, as

    described by the former DaVita employees. See ¶¶77-80..

           237.    Moreover, internal Company documents confirm that DaVita had a formal bonus

    program for facilities and employees who successfully acquired the most “private pay” patients,

    including quarterly and annual incentive and bonus programs focused directly focused on private

    pay growth. These programs even went so far as to include bonuses of up to $10,000 for




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    employees who “educated” the most patients about commercial insurance options, with various

    Company propaganda enticing employees to be a “champion” and “go for it!” See ¶¶62-67,

            238.   These and numerous other internal company documents confirm all aspects of the

    DaVita steering scheme and how it was a top-down driven scheme, indicative of a strong finding

    of scienter.

            239.   The federal investigation of the AKF and charitable premium assistance—and of

    DaVita itself—concerns Defendants’ illicit steering practices. On January 6, 2017, DaVita

    announced that it received a subpoena from the United States Attorney in Massachusetts relating

    to its business practices and its relationship with the AKF. See ¶¶14, 136. Despite the fact that

    these investigations remain ongoing, Defendants downplayed them, failing to disclose any facts

    about their substance, aside from that they involve federal health care offenses and the subpoena

    covers the period from January 1, 2007 through the present. The subpoena seeks documents

    relevant to charitable patient assistance organizations, particularly the AKF and related to efforts

    to provide patients with information concerning the availability of charitable assistance. This

    serious investigation is indicative of a strong inference of scienter.

            240.   During the Class Period, Defendants repeatedly emphasized DaVita’s increasing

    commercial mix: The Individual Defendants repeatedly emphasized that the Company’s

    “commercial lives”—or DaVita’s ESRD patients who are commercially insured—were the

    Company’s “economic lifeline.” ¶¶4, 10, 42. Indeed, Defendants touted DaVita’s net revenue

    and operating income growth attributable to “improved revenue per treatment due to improved

    commercial mix” (see, e.g., ¶¶10, 162), and emphasized to investors how for the first time in

    several years, the Company’s growth of commercial patients outpaced the growth of

    government-based patients. See, e.g., ¶162 (“the biggest good news is that our commercial mix




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    and our rates, both went up a bit”); ¶175 (“It did grow in 2015 for the first time in a long time,

    and so we’re pretty pleased with where we are at”); ¶168 (“for the first time in several years, the

    growth of our commercial patients slightly outpaced the growth of our government-based

    patients as more of our patients are covered by commercial contracted plans”).

           241.    These statements demonstrate that Defendants closely monitored commercial mix

    rates, believed them to be critical to the Company’s financial success, and were motivated to

    keep such rates as high as possible. Defendants’ strong, emphatic and repeated statements about

    Kidney Care’s increasing commercial mix, while at the same time DaVita facilities across the

    country were manufacturing that “growth” by engaging in the illicit steering scheme, are

    indicative of a strong inference of scienter.

           242.    Defendants also prominently reported during the Class Period that Kidney Care

    had increasing average dialysis revenue per treatment. Defendants reported to investors that

    Kidney Care’s critical revenue per treatment metric—which, along with the other key metrics,

    Defendants prominently reported every quarter—had increased at the outset of the Class Period,

    clearing the way for Kidney Care’s strong revenue growth. See e.g., ¶162 (Defendant Hilger

    highlighted the growth in “improved revenue per treatment due to improved commercial mix”);

    ¶¶164, 167, 173, 178, 205, 217 (net revenue growth being attributable to “an increase in our

    average dialysis revenue per treatment”). Defendants were well-aware of the fact that the market

    was relying on these statements, as analysts published numerous reports that underscored Kidney

    Care’s strong metrics, improved commercial mix and revenue per treatment, and critical

    importance to the Company’s overall business.

           243.    For example, a May 5, 2015 SunTrust report noted that DaVita’s “core dialysis

    segment remains robust, with stable demand and steady cash flow generation…In addition, a




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    modest 1Q improvement in mix is encouraging, the guidance raise was driven by this segment.”

    A May 6, 2015 Jefferies report noted DaVita’s “better run-rates for commercial contracts,”

    stating that “we see the trend of DVA winning market share in commercial patients continuing.”

    Moreover, in its August 5, 2015 report, SunTrust stated that “Revenue per treatment of $348.32

    came in comfortably ahead of our $341.52 estimate, on both improved payor mix and rates and

    drove upside in the dialysis business.” Additionally, in its August 4, 2015 report, William Blair

    rated the stock Outperform “given the company’s strong core dialysis business model,” and

    stated that “[r]evenue per treatment was above our estimate and up sequentially at $348, up 2.5%

    over the prior-year quarter. A higher mix of commercial patients drove the beat and is likely to

    be sustainable through the end of the year.” Lastly, in its May 5, 2016 report, SunTrust stated

    that “continued strength in Kidney Care (volumes, mix, international expansion) is

    encouraging…We were encouraged by Kidney Care momentum, improving payor mix, strength

    in cash flow and see an upward bias to the guidance.” The Individual Defendants knew, or were

    severely reckless in not knowing, that DaVita’s consistently increasing key metrics were inflated

    by the Company’s illicit steering scheme.

           244.   The October 2016 St. Louis Post-Dispatch article made clear that DaVita’s senior

    executives were directly involved in the fraud. The October 2016 St. Louis Post-Dispatch report

    revealed several facts that made clear that DaVita’s senior executives were aware of, and in fact

    orchestrators of, the fraud. ¶¶118-121. Specifically, the report described a “coordinated effort”

    and systematic approach to “steer” hundreds of St. Louis patients—and thousands across the

    country—to lucrative commercial health plans. DaVita corporate was also unquestionably aware

    of, and in fact responsible for, the “Medicaid Opportunity”, meaning employees were to pressure

    all Medicaid and Medicaid eligible ESRD patients in their facilities to enroll in commercial




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    insurance plans. Indeed, this directive came from high-ranking DaVita executives, and filtered

    to employees at DaVita facilities across the country. The St. Louis Post-Dispatch reported that

    internal emails from fall 2015 open enrollment tallied each region’s performance and showed

    how regions were tracked by how many patients were interested in commercial coverage and the

    percentage of those that had been talked to by employees about their options.

              245.   The fact that high-ranking DaVita executives nationwide were engaging in the

    Company’s illicit practices show that DaVita executive management was not only involved in

    these practices, but in fact orchestrated the scheme, raising a strong inference of scienter.

              246.   The Individual Defendants participated directly in the setting and reporting of the

    Kidney Care division’s financial metrics. Defendant Hilger, the Company’s CFO during the

    majority of the Class Period, and Defendant Thiry, the Company’s CEO since 1999, were

    personally involved in the Company’s reporting of its dialysis revenues, revenue per treatment

    and other key metrics, and personally signed Sarbanes Oxley certifications as to their accuracy,

    every quarter. Moreover, in light of how critical Kidney Care was to DaVita’s overall business

    and how crucial that business’ commercial mix levels were to its revenue growth, the Individual

    Defendants closely tracked the metrics they repeatedly touted and prominently reported for that

    business every quarter. Additionally, the fact that 75% of the Company’s profits were directly

    attributable to the AKF also raises a strong inference of scienter, as the idea that the Company’s

    executives would be unaware of such a critical contributor to the Company’s profitability is

    absurd.

              247.   The magnitude and duration of DaVita’s widespread illicit admissions scheme is

    indicative of scienter. Defendants perpetrated their illicit admissions scheme throughout the two

    and a half year Class Period. Moreover—as shown by the St. Louis Post-Dispatch article,




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    internal corporate documents, statements from former employees, and pre-Class Period

    investigations and qui tam lawsuits—insurance manipulation schemes pervaded DaVita facilities

    and business practices nationwide.       Thus, contrary to Defendants’ representations, the

    Company’s illicit practices were not “education,” the patient’s “decision” alone or “in their best

    interest.” Indeed, Defendants directed employees at DaVita dialysis centers to prioritize profits

    over patients through the illicit steering scheme, the Company-wide directive to pressure all

    Medicaid and Medicaid eligible ESRD patients in their facilities to enroll in commercial

    insurance plans, in order to increase the Company’s critical commercial mix and which in turn

    resulted in higher net revenues and operating income. The magnitude of Defendants’ scheme,

    which permeated DaVita facilities nationwide—and its long duration (at least two and a half

    years and counting)—support a strong inference of scienter.

           248.    The fact that the AKF was absolutely critical to the Company’s financial success

    is further evidence of scienter. As set forth above, the Company’s profits during the Class Period

    depended on the AKF premium assistance; indeed, the Company’s goal was to enroll “all”

    Medicare and Medicaid patients in AKF-backed commercial plans. As the Company was forced

    to disclose at the end of the Class Period, approximately 75% of its profits were derived from

    commercial plans paid for by the AKF with money DaVita gave the AKF to pay those

    premiums. Accordingly, there is no question that DaVita’s most senior officers were well aware

    of all aspects of the Company’s relationship with the AKF, and the fact that the Company was

    “steering” patients to private plans.

           249.    The fact that DaVita “temporarily suspended” AKF applications for certain

    patients (accounting for 16% of the Company’s 2016 profits) is also extremely probative of

    scienter. Significantly, notwithstanding the Company’s denials of any wrongdoing, that so-




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    called “temporary” suspension was in fact a permanent one – to date, nearly 18 months later,

    DaVita has never resumed AKF applications for these patients. Moreover, the timing of that

    suspension was highly suspicious, as it came less than three months after CMS issued its August

    18, 2016 RFI, only one month after numerous DaVita employees and insurers responded to the

    RFI by claiming that DaVita was steering, and only one week after the St. Louis Post-Dispatch

    article. The fact that DaVita forfeited hundreds of millions of dollars in annual profits almost

    immediately after evidence of its steering emerged is compelling evidence that DaVita itself

    understood that its practices were improper and unlawful. Indeed, if DaVita truly believed that

    its practices were entirely lawful and appropriate, it would never have relinquished those profits.

           250.    The manner in which Defendants’ illicit admissions scheme came to light

    supports scienter. DaVita did not voluntarily disclose Defendants’ illicit scheme. It instead has

    been revealed through public scrutiny of the Company’s unlawful steering practices. See e.g.

    ¶¶106-116, 118-121, 133-136. Even after the publication of the CMS RFI, the St. Louis Post-

    Dispatch report, and the subpoena from the U.S. Attorney’s Office for the District of

    Massachusetts “seeking the production of information related to charitable premium assistance,”

    Defendants did not admit to the scheme. They instead flatly denied the St. Louis Post-Dispatch

    report’s startling revelations and the CMS’ concern, dismissing them by stating that “DaVita

    does not steer patients,” but instead “educates its patients.”

           251.    In addition to effectively denying that the Company and its employees manipulate

    patients into signing up for unnecessary, even detrimental commercial insurance coverage,

    Defendants refused to come clean on numerous occasions as to the magnitude of the Company’s

    reliance on AKF contributions. Thiry dodged the question of how many commercial patients are

    receiving AKF premium assistance on November 2, 2016, stating in response that “disclosing




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   that is not in your best interests, although we’ll continue to stare at that each quarter, but that’s

   our current thinking.” Again, on May 25, 2017, Thiry stated that DaVita would “not and it

   would not be in your best interest for us to start providing all sorts of detail” as to AKF funding

   of DaVita patients. It was SIRF who revealed that, “at a minimum, AKF’s support helps

   generate between 40 and 45 percent of the Kidney Care unit’s estimated [EBITDA], or at least

   $339.4 million through June 30”—and it was J.P. Morgan who revealed on October 9, 2017, that

   60-80% of DaVita’s earnings power is derived from its AKF relationship. Even when DaVita

   finally disclosed on October 10, 2017 that 13% of its current dialysis patients—or 25,000

   patients—received AKF support, Defendants still did not fully come clean. In fact, to date,

   Defendants maintain that they did nothing wrong, even as the federal investigation of their

   conduct continues to escalate, and remains ongoing.

          252.    The manner in which the scheme came to light, and the federal investigation of

   DaVita’s “possible federal health care offenses…relevant to charitable patient assistance

   organizations, particularly the American Kidney Fund,” suggests that DaVita’s widespread illicit

   steering scheme was not the result of negligence, isolated occurrences, or rogue employees. It

   was instead the result of an intentional, or at minimum, severely reckless, coordinated effort to

   falsely portray the Company’s financial and operational results.

          253.    The Company’s misrepresentations were material. As set forth above, the Kidney

   Care Division is critical to the Company’s success, accounting for 97% of DaVita’s earnings in

   2015, and 100% in 2016. DaVita makes no secret that its Kidney Care profits depend on its

   commercially insured ESRD patients. DaVita stressed that the approximately 10% of patients on

   commercial insurance subsidize the remaining 90% of patients that use government plans. See

   e.g. ¶¶¶4, 10, 42.     Defendants have claimed that the Kidney Care division, through its




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   “wonderful” commercial mix and rates caused the Company’s increasingly steady and reliable

   growth. See e.g. ¶¶162, 164, 167, 173, 178, 205, 217 . Defendants’ coordinated and widespread

   scheme to inflate this business’ key metrics and sizeable revenues was unquestionably material.

          254.    Prior to the Class Period, DaVita was the subject of investigations and numerous

   qui tam lawsuits alleging that DaVita “knowingly” engaged in “sophisticated scheme[s]”

   involving unlawful practices. The lawsuits involve a variety of illegal practices, all of which

   concern various methods to illicitly increase DaVita’s financial results:

                  a.      $389 Million Kickback Scheme Settlement: In 2009, a former employee
                          brought a qui tam lawsuit against DaVita, alleging that it was engaged in a
                          massive kickback scheme in which the Company would pay physician
                          groups to refer patients to DaVita’s dialysis clinics. After investigating
                          the claim, federal authorities determined that DaVita’s illegal kickback
                          scheme had been ongoing for nearly a decade, from March 2005 to
                          February 2014. DaVita settled the suit for $389 million.

                  b.      $495 Million False Claims Settlement: In 2012, two former DaVita
                          employees—a doctor and a nurse—brought another qui tam lawsuit
                          against the Company, accusing it of intentionally wasting certain
                          medicines to fraudulently overbill Medicare and Medicaid in order to
                          receive significantly higher reimbursements. The complaint alleged that
                          the scheme spanned several years, from 2003 to 2010. DaVita settled the
                          suit for $495 million.

                  c.      $55 Million False Claims Settlement: Also in 2012, DaVita settled a
                          similar qui tam suit brought by a whistleblower in Texas, who alleged that
                          DaVita fraudulently billed the government for Epogen, an anemia drug
                          made by Amgen. According to the complaint, Amgen overfilled Epogen
                          vials given to DaVita to meet federal regulations that health care providers
                          include an extra quantity to ensure full doses are given to patients. The
                          whistleblower, a former Amgen employee, alleged that DaVita
                          fraudulently billed the federal government for the overfills, amounting to
                          millions of dollars in false claims to Medicare and other government
                          programs. DaVita settled the suit for $55 million.

                  d.      $63.7 Million DaVita Rx Settlement: Most recently, on December 14,
                          2017, DaVita agreed to pay a total of $63.7 million to resolve allegations
                          that DaVita Rx fraudulently billed federal programs for prescription
                          medications that were never shipped, that were shipped but then returned,
                          or that did not comply with requirements for documentation of proof of
                          delivery, refill requests, or patient consent. The settlement also resolved


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                           allegations that DaVita paid kickbacks to federal healthcare program
                           beneficiaries in exchange for their enrollment in DaVita Rx, as DaVita Rx
                           allegedly wrote off co-pays and gave significant discounts to beneficiaries
                           who paid for their medications by credit card.

           255.    These lawsuits, which spanned several years and implicated numerous DaVita

   facilities in different states across the country, show that Defendants were unquestionably on

   notice of DaVita’s illicit and coordinated practices to unlawfully increase profits, regardless of

   the ultimate impact on patients’ lives.

   VIII. LOSS CAUSATION

           256.    During the Class Period, shares of DaVita’s publicly traded common stock traded

   on the NYSE. The market for shares of DaVita’s common stock was open, well-developed and

   efficient at all relevant times.

           257.    Throughout the Class Period, the price of DaVita’s common stock was artificially

   inflated as a result of Defendants’ materially false and misleading statements and omissions

   identified above. Defendants engaged in a scheme to deceive the market, and a course of

   conduct that operated as a fraud or deceit on Class Period purchasers of DaVita common stock,

   by failing to disclose and misrepresenting the adverse facts detailed herein. When Defendants’

   prior misrepresentations and fraudulent conduct were disclosed and became apparent to the

   market, the price of DaVita common stock fell precipitously as the prior artificial inflation

   dissipated. As a result of their purchases of DaVita common stock during the Class Period, Lead

   Plaintiffs and the other Class members suffered economic loss, i.e., damages, under the federal

   securities laws.

           258.    By issuing materially false and misleading financial statements, among other

   adverse facts detailed herein, Defendants presented a misleading picture of DaVita’s business.

   Defendants’ false and misleading statements had the intended effect, and caused DaVita



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   common stock to trade at artificially inflated levels throughout the Class Period, with DaVita

   common stock reaching as high as $84.23 per share on May 28, 2015. On the last trading day

   before Defendants’ fraud was revealed, DaVita common stock traded at $59.82 per share on

   October 6, 2017, the last day of the Class Period. From its Class Period high of $84.23 per share

   to its closing price of $53.89 per share on Monday, October 9, 2017, DaVita’s stock price

   dropped $30.34 per share, or 36%, wiping out roughly $6 billion in market capitalization.

          259.    On August 8, 2016, DaVita announced its second quarter results for 2016 and

   held a conference call with analysts and investors to discuss the Company’s Q2 2016 results.

   For the first time during the Class Period, Defendants were confronted about their relationship

   with the AKF. During the conference call, Defendant Rodriguez indicated that the Company had

   been donating money to the AKF “to help patients with end-stage renal disease for decades in

   order to be assisted with their premium.”

          260.    On this news, DaVita’s stock price dropped $3.05 per share, or 4.05%, from

   $75.36 per share on August 8, 2016 to $72.31 per share on August 9, 2016 on unusually heavy

   volume. On August 10, 2016, DaVita’s stock price dropped an additional $2.20 per share, or

   3.04%, as the market continued to digest the news. In total, this news caused a 7% decline in

   DaVita’s stock price over two trading days wiping out approximately $1.086 billion in Company

   market capitalization

          261.    On August 18, 2016, CMS announced its formal Request For Information

   regarding allegations that dialysis companies, including DaVita, had been steering ESRD

   patients into commercial plans for the sole purpose of collecting higher insurance

   reimbursements—DaVita’s exact scheme.




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          262.       In reaction to the disclosure about the CMS inquiry, DaVita’s stock price dropped

   $3.17 per share, or 4.7%, on unusually heavy trading volume from $67.65 per share on August

   18, 2016 to $64.48 per share on August 19, 2016, wiping out approximately $656 million of the

   Company’s market capitalization in one day.

          263.       On October 23, 2016, the St. Louis Post-Dispatch published its expose on the

   Company, stating that, based on its review of internal Company emails and interviews with

   former employees, DaVita had been deliberately steering patients into commercial plans by

   funneling “donations” through the AKF. Specifically, the article revealed to investors that (i)

   DaVita was engaged in a “coordinated effort” and systematic approach to “steer” hundreds of St.

   Louis patients—and thousands across the country—to lucrative commercial health plans; (ii)

   DaVita corporate was responsible for the “Medicaid Opportunity”, meaning employees were to

   pressure all Medicaid and Medicaid eligible ESRD patients in their facilities to enroll in

   commercial insurance plans; and (iii) the Company closely tracked employees’ “steering” efforts,

   including by documenting “how many patients were interested in commercial coverage and the

   percentage of those that had been talked to by employees about their options.”

          264.       In reaction to the St. Louis Post-Dispatch report, DaVita’s stock price dropped

   $2.86 per share, or 4.7%, from $60.96 per share on Friday, October 21, 2016 to $58.10 per share

   on Monday, October 24, 2016, wiping out an additional $565 million in Company market

   capitalization.

          265.       On January 6, 2017, The Wall Street Journal reported that investigators from the

   U.S. Department of Justice “are probing a controversial arrangement under which kidney-care

   companies support charitable efforts to help patients pay health-insurance premiums.” As part of

   the investigation, the U.S. Attorney’s Office for the District of Massachusetts had subpoenaed




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   DaVita and the AKF seeking information relating to the Company’s donations to the AKF. On

   this news, DaVita’s stock fell $2.41, or 3.7%, from $65.79 per share on Friday, January 6, 2017

   to $63.38 per share on Monday, January 9, 2017, wiping out $476 million in Company market

   capitalization.

          266.       On May 2, 2017, after the markets closed, DaVita held its first quarter earnings

   call, during which it confirmed “lower enrollment of patients on the ACA plans.” The Company

   also disclosed that it had lost all of the 2,000 Medicaid patients who were enrolled in ACA plans

   with AKF assistance—meaning it would absorb in 2017 the full $140 million impact that it had

   previously reported as being possibly reduced by offsets. On this news, DaVita’s stock dropped

   5.2%, from a close of $70.09 on May 2, 2017 to $66.45 the following day, wiping out $708

   million in Company market capitalization..

          267.       On August 1, 2017, DaVita reported that its second quarter earnings dropped 15%

   compared to the same period the prior year. DaVita reported that that it was continuing to

   experience a downturn in its commercial mix improvements in the payer climate, particularly

   since payers were increasingly amending their policies to refuse to accept third party charitable

   premium assistance. On this news, DaVita stock price plummeted 8.84% on unusually high

   trading volume, from $64.13 on August 1, 2017 to $58.46 on August 2, 2017, wiping out $1.084

   billion in Company market capitalization.

          268.       On September 22, 2017, the Southern Investigative Reporting Foundation “SIRF”

   published an expose on DaVita and its illicit relationship with the AKF that revealed, for the first

   time, that the AKF provided DaVita with “up to half of its operating profits.” Specifically, “at a

   minimum, AKF’s support helps generate between 40 and 45 percent of the Kidney Care unit’s

   estimated earnings before interest and taxes.”        The report also described the scheme as




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   “astounding” because “those handsome profits come from a base of about 9000 dialysis patients,

   barely more than four percent” of DaVita’s patients. On this news, DaVita’s stock declined

   6.2%, from $61.26 on September 21, 2017 to $57.49 at the close of trading the following day,

   wiping out $721 million in Company market capitalization.

          269.    On October 9, 2017, J.P. Morgan downgraded DaVita’s stock from “Neutral” to

   “Underweight,” citing AKF’s “updated disclosures,” which “heighten our existing concern

   regarding the level of earnings power that DVA derives from AKF operations.” The report

   stated that the AKF had recently disclosed that it assists 21,000 non-ACA commercial patients

   (i.e., COBRA patients) through its premium assistance program, and applying DaVita’s 38%

   market share to that figure, “as much as 60-80% plus of DVA’s earning power is derived from its

   AKF relationship.”

          270.    On this news, DaVita stock plummeted approximately 10% on unusually high

   trading volume, closing at $53.89 on Monday, October 9, 2017 from a prior close of $59.82 on

   Friday, October 6, 2017, wiping out $1.134 billion in Company market capitalization.

          271.    The following day, DaVita issued a press release largely confirming the SIRF and

   J.P. Morgan analyses.     Specifically, on October 10, 2017, the Company disclosed that, in

   addition to the previously-acknowledged 2,000 Medicaid patients that used AKF assistance to

   switch to ACA plans, a full 5,800 other commercially-insured patients also received AKF

   assistance, which could result in a loss in operating income of approximately $450 million. All

   told, DaVita confirmed that a staggering $680 million of its earnings were reliant upon its illicit

   relationship with the AKF, or more than 75% of the $880 million in net income that the

   Company reported in 2016.




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          272.    The drastic and continuing decline in DaVita’s stock price was a direct result of

   the nature and extent of Defendants’ fraud finally being revealed to investors and the market.

   The timing and magnitude of the decline in the Company’s share price negates any inference that

   the loss suffered by Plaintiffs and the other Class members was caused by changed market

   conditions, macroeconomic or industry factors, or Company-specific facts unrelated to

   Defendants’ fraudulent conduct.

   IX.    PRESUMPTION OF RELIANCE

          273.    At all relevant times, the market for DaVita’s common stock was efficient for the

   following reasons, among others:

                  a.      DaVita’s stock met the requirements for listing, and was listed and
                          actively traded on the New York Stock Exchange, a highly efficient and
                          automated market;

                  b.      As a regulated issuer, DaVita filed periodic reports with the SEC and the
                          New York Stock Exchange;

                  c.      DaVita regularly communicated with public investors via established
                          market communication mechanisms, including through regular
                          disseminations of press releases on the national circuits of major newswire
                          services, and through other wide-ranging public disclosures, such as
                          communications with the financial press and other similar reporting
                          services; and

                  d.      DaVita was followed by numerous securities analysts employed by major
                          brokerage firms who wrote reports which were distributed to those
                          brokerage firms’ sales force and certain customers. Each of these reports
                          was publicly available and entered the public market place.

          274.    As a result of the foregoing, the market for DaVita’s common stock reasonably

   and promptly digested current information regarding the Company from all publicly available

   sources and reflected such information in the price of DaVita’s common stock. All purchasers of

   the Company’s common stock during the Class Period suffered similar injury through their

   purchase of DaVita stock at artificially inflated prices, and a presumption of reliance applies.



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          275.    A Class-wide presumption of reliance is also appropriate in this action under the

   U.S. Supreme Court’s holding in Affiliated Ute Citizens of Utah v. U.S., 406 U.S. 128 (1972),

   because the Class’ claims are grounded on Defendants’ material omissions. Because this action

   involves Defendants’ failure to disclose material adverse information regarding DaVita’s

   business and operations—information that Defendants were obligated to disclose—positive

   proof of reliance is not a prerequisite to recovery. All that is necessary is that the facts withheld

   be material in the sense that a reasonable investor might have considered them important in

   making investment decisions. Given the importance of the Class Period material misstatements

   and omissions set forth above, that requirement is satisfied here.

   X.     INAPPLICABILITY OF THE STATUTORY SAFE HARBOR
          AND THE BESPEAKS CAUTION DOCTRINE

          276.    The statutory safe harbor or bespeaks caution doctrine applicable to forward-

   looking statements under certain circumstances does not apply to any of the false and misleading

   statements pleaded in this Complaint. None of the statements complained of herein was a

   forward-looking statement. Rather, they were historical statements or statements of purportedly

   current facts and conditions at the time the statements were made, including statements about

   DaVita’s present business and operations, its present financial condition, and its internal

   controls, among others.

          277.    To the extent that any of the false and misleading statements alleged herein can be

   construed as forward-looking, those statements were not accompanied by meaningful cautionary

   language identifying important facts that could cause actual results to differ materially from

   those in the statements. As set forth above in detail, then-existing facts contradicted Defendants’

   statements regarding DaVita’s steering of patients to AKF programs, among others. Given the

   then-existing facts contradicting Defendants’ statements, any generalized risk disclosures made



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   by DaVita were not sufficient to insulate Defendants from liability for their materially false and

   misleading statements.

          278.    To the extent that the statutory safe harbor does apply to any forward-looking

   statements pleaded herein, Defendants are liable for those false forward-looking statements

   because at the time each of those statements was made, the particular speaker knew that the

   particular forward-looking statement was false, and the false forward-looking statement was

   authorized and approved by an executive officer of DaVita who knew that the statement was

   false when made.

   XI.    CLASS ACTION ALLEGATIONS

          279.    Plaintiffs bring this action as a class action pursuant to Fed. R. Civ. P. 23(a) and

   23(b)(3) on behalf of a Class consisting of all those who purchased, or otherwise acquired, the

   common stock of DaVita between February 26, 2015 and October 6, 2017, inclusive (the

   “Class”), and who were damaged thereby. Excluded from the Class are Defendants, the officers

   and directors of DaVita at all relevant times, members of their immediate families, and their

   legal representatives, heirs, agents, affiliates, successors or assigns, Defendants’ liability

   insurance carriers, and any affiliates or subsidiaries thereof, and any entity in which Defendants

   or their immediate families have or had a controlling interest.

          280.    The members of the Class are so numerous that joinder of all members is

   impracticable. Throughout the Class Period, DaVita shares were actively traded on the New

   York Stock Exchange. As of August 5, 2016, there were over 206.9 million shares of DaVita

   common stock outstanding. While the exact number of Class members is unknown to Lead

   Plaintiffs at this time, and can only be ascertained through appropriate discovery, Lead Plaintiffs

   believe that there are at least hundreds-of-thousands of members of the proposed Class. Class




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   members who purchased DaVita securities may be identified from records maintained by the

   Company, or its transfer agent(s), and may be notified of this class action using a form of notice

   similar to that customarily used in securities class actions.

           281.      Lead Plaintiffs’ claims are typical of Class members’ claims, as all members of

   the Class were similarly affected by Defendants’ wrongful conduct in violation of federal laws,

   as complained of herein.

           282.      Lead Plaintiffs will fairly and adequately protect Class members’ interests, and

   have retained competent counsel experienced in class actions and securities litigation.

           283.      Common questions of law and fact exist as to all Class members and predominate

   over any questions solely affecting individual Class members. Among the questions of fact and

   law common to the Class are:

                     a.     whether the federal securities laws were violated by Defendants’ acts, as
                            alleged herein;

                     b.     whether the Defendants made statements to the investing public during the
                            Class Period that were false, misleading or omitted material facts;

                     c.     whether Defendants acted with scienter; and

                     d.     the proper way to measure damages.

           284.      A class action is superior to all other available methods for the fair and efficient

   adjudication of this action because joinder of all Class members is impracticable. Additionally,

   the damage suffered by some individual Class members may be relatively small so that the

   burden and expense of individual litigation make it impossible for such members to individually

   redress the wrongs done to them. There will be no difficulty in the management of this action as

   a class action.




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   XII.    CLAIMS FOR RELIEF UNDER THE EXCHANGE ACT

                                                  COUNT I

                             For Violations of Section 10(b) of the Exchange Act,
                               and SEC Rule 10b-5 Promulgated Thereunder
                                          (Against All Defendants)

           285.    Lead Plaintiffs repeat and re-allege each and every allegation set forth above as if

   fully set forth herein.

           286.    This Count is asserted on behalf of all members of the Class against Defendants

   DaVita, Thiry, Hilger and Rodriguez for violations of Section 10(b) of the Exchange Act,

   15 U.S.C. § 78j(b), and Rule 10b-5 promulgated thereunder, 17 C.F.R. § 240.10b-5.

           287.    During the Class Period, Defendants disseminated or approved the false

   statements specified above, which they knew were, or they deliberately disregarded as,

   misleading in that they contained misrepresentations and failed to disclose material facts

   necessary in order to make the statements made, in light of the circumstances under which they

   were made, not misleading.

           288.    Defendants violated Section 10(b) of the Exchange Act and Rule 10b-5

   promulgated thereunder in that they: (a) employed devices, schemes, and artifices to defraud; (b)

   made untrue statements of material facts or omitted to state material facts necessary in order to

   make the statements made, in light of the circumstances under which they were made, not

   misleading; and/or (c) engaged in acts, practices, and a course of business that operated as a

   fraud or deceit upon Lead Plaintiffs and other investors similarly situated in connection with

   their purchases of DaVita common stock during the Class Period.

           289.    Defendants, individually and in concert, directly and indirectly, by the use of

   means or instrumentalities of interstate commerce and/or of the mails, engaged and participated

   in a continuous course of conduct that operated as a fraud and deceit upon Lead Plaintiffs and the


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   other members of the Class; made various untrue and/or misleading statements of material facts

   and omitted to state material facts necessary in order to make the statements made, in light of the

   circumstances under which they were made, not misleading; made the above statements

   intentionally or with a severely reckless disregard for the truth; and employed devices and

   artifices to defraud in connection with the purchase and sale of DaVita common stock, which

   were intended to, and did: (a) deceive the investing public, including Lead Plaintiffs and the

   other members of the Class, regarding, among other things, DaVita’s business and operations;

   (b) artificially inflate and maintain the market price of DaVita common stock; and (c) cause Lead

   Plaintiffs and the other members of the Class to purchase the Company’s common stock at

   artificially inflated prices, and to suffer losses when the true facts became known.

          290.    Defendants DaVita, Thiry, Hilger and Rodriguez are liable for all materially false

   and misleading statements made during the Class Period, as alleged above.

          291.    As described above, Defendants acted with scienter throughout the Class Period,

   in that they acted either with intent to deceive, manipulate, or defraud, or with severe

   recklessness. The misrepresentations and omissions of material facts set forth herein, which

   presented a danger of misleading buyers or sellers of DaVita common stock, were either known

   to the Defendants, or were so obvious that the Defendants should have been aware of them.

          292.    Lead Plaintiffs and the other members of the Class have suffered damages in that,

   in direct reliance on the integrity of the market, they paid artificially inflated prices for DaVita

   common stock, which inflation was removed from its price when the true facts became known.

   Lead Plaintiffs and the other members of the Class would not have purchased DaVita common

   stock at the prices they paid, or at all, if they had been aware that the market price had been

   artificially and falsely inflated by these Defendants’ misleading statements.




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             293.   As a direct and proximate result of these Defendants’ wrongful conduct, Lead

   Plaintiffs and the other members of the Class suffered damages attributable to the material

   misstatements and omissions alleged herein in connection with their purchases of DaVita

   common stock during the Class Period.

                                                COUNT II

                         For Violations Of Section 20(a) Of The Exchange Act
                          (Against Defendants Thiry, Hilger and Rodriguez)

             294.   Lead Plaintiffs repeat and re-allege each and every allegation set forth above as if

   fully set forth herein.

             295.   This Count is asserted on behalf of all members of the Class against Defendants

   Thiry, Hilger and Rodriguez for violations of Section 20(a) of the Exchange Act, 15 U.S.C. §

   78t(a).

             296.   During their tenures as officers and/or directors of DaVita, each of these

   Defendants was a controlling person of the Company, within the meaning of Section 20(a) of the

   Exchange Act. See ¶¶24-29. By reason of their positions of control and authority as officers

   and/or directors of DaVita, these Defendants had the power and authority to direct the

   management and activities of the Company and its employees, and to cause the Company to

   engage in the wrongful conduct complained of herein. These Defendants were able to and did

   control, directly and indirectly, the content of the public statements made by DaVita during the

   Class Period, including its materially misleading statements, thereby causing the dissemination

   of the false and misleading statements and omissions of material facts as alleged herein.

             297.   In their capacities as senior corporate officers of the Company, and as more fully

   described above in ¶¶24-29, Defendants Thiry, Hilger and Rodriguez had direct involvement in

   the day-to-day operations of the Company, in reviewing and managing its regulatory and legal



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   compliance, and in its accounting and reporting functions. Defendants Thiry and Hilger signed

   the Company’s SEC filings during the Class Period, and were directly involved in providing

   false information, and in certifying and approving the false statements disseminated by DaVita

   during the Class Period. Defendants Thiry, Hilger, and Rodriguez were also directly involved in

   providing false information, and Defendants Thiry and Hilger certified and approved the false

   statements disseminated by DaVita during the Class Period. As a result of the foregoing,

   Defendants Thiry, Hilger and Rodriguez, as a group and individually, were controlling persons

   of DaVita within the meaning of Section 20(a) of the Exchange Act.

          298.   As set forth above, DaVita violated Section 10(b) of the Exchange Act by its acts

   and omissions as alleged in this Complaint.

          299.   By virtue of their positions as controlling persons of DaVita, and as a result of

   their own aforementioned conduct, Defendants Thiry, Hilger and Rodriguez are liable pursuant

   to Section 20(a) of the Exchange Act, jointly and severally with, and to the same extent as, the

   Company is liable under Section 10(b) of the Exchange Act and Rule 10b-5 promulgated

   thereunder, to Lead Plaintiffs, and the other members of the Class, who purchased or otherwise

   acquired DaVita securities. As detailed above in ¶¶24-29, during the respective times these

   Defendants served as officers and/or directors of DaVita, each of these Defendants was culpable

   for the material misstatements and omissions made by the Company.

          300.   As a direct and proximate result of these Defendants’ conduct, Lead Plaintiffs and

   the other members of the Class suffered damages in connection with their purchase or other

   acquisition of DaVita common stock.

   XIII. PRAYER FOR RELIEF

          301.   WHEREFORE, Lead Plaintiffs pray for relief and judgment as follows:




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                a.     Declaring the action to be a proper class action pursuant to Rule 23(a) and
                       (b)(3) of the Federal Rules of Civil Procedure on behalf of the Class
                       defined herein;

                b.     Awarding all damages and other remedies available under the Securities
                       Exchange Act in favor of Lead Plaintiffs and all other members of the
                       Class against Defendants in an amount to be proven at trial, including
                       interest thereon;

                c.     Awarding Lead Plaintiffs and the other members of the Class their
                       reasonable costs and expenses incurred in this action, including attorneys’
                       fees and expert fees; and

                d.     Such other and further relief as the Court may deem just and proper.

   XIV. JURY DEMAND

         302.   Lead Plaintiffs hereby demand a trial by jury.

   Dated: January 12, 2018                            Respectfully Submitted,

                                                      /s/ Steven B. Singer
                                                      Steven B. Singer

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                                                      -and-

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                                     CERTIFICATE OF SERVICE


           I HEREBY CERTIFY that on the 12th day of January, 2018, I caused to be electronically

   filed the foregoing with the Clerk of Court using the CM/ECF system, which will send

   notification of such filing to the all registered participants.


                                                   /s/ Steven B. Singer
                                                   Steven B. Singer




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                                 SCHEDULE A
                    Jacksonville Police and Fire Pension Fund
                          Transactions in DaVita Inc.



        Common Stock Purchases                      Common Stock Sales
      Date     Shares       Price                Date    Shares      Price
    12/10/15    3,692      $70.93              05/06/15    545      $81.45
    07/07/16   14,160      $76.82              05/07/15    818      $81.79
    07/27/16    2,857      $78.18              05/08/15    405      $82.42
    07/28/16     287       $76.76              05/11/15    181      $81.93
    08/25/16     849       $64.19              05/13/15    108      $81.30
    08/26/16    1,662      $63.82              05/14/15   1054      $81.69
    08/29/16     620       $64.39              12/17/15   1,492     $64.36
    08/30/16     766       $64.59              07/15/16   2,770     $77.73
    08/31/16     404       $64.30              08/19/16   4,790     $64.36
    10/13/16     153       $62.75              08/24/16   6,600     $64.70
    10/13/16     540       $62.99              12/12/16   1,187     $66.90
    10/14/16     375       $63.09              01/10/17    452      $64.52
                                               01/11/17    239      $63.17
                                               01/12/17    575      $63.27
                                               01/12/17    491      $63.57
                                               01/31/17   1,002     $63.80
                                               02/01/17   1,405     $64.25
                                               02/01/17    703      $64.35
                                               02/02/17   2,458     $64.76
                                               02/03/17   4,451     $65.02
                                               02/06/17    659      $65.30
                                               02/08/17    522      $64.68
                                               02/09/17    669      $64.66
                                               02/10/17    228      $64.82
                                               02/14/17    421      $64.75
                                               02/15/17   1,971     $64.87
                                               02/16/17    985      $64.68
                                               02/17/17    904      $66.98
                                               02/17/17   3,370     $67.25
                                               02/21/17   1,481     $68.15
                                               02/21/17   5,926     $68.65
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